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      EXHIBIT 6
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                IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MASSACHUSETTS

JANSSEN BIOTECH, INC.
                        Plaintiff,
                v.
                                          Civil Action No. 1:17-cv-11008
CELLTRION HEALTHCARE CO., LTD.,
CELLTRION, INC., and
HOSPIRA, INC.
                     Defendants.


       DEFENDANTS’ PROPOSED POST-TRIAL JURY INSTRUCTIONS
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       Defendants Celltrion Healthcare Co., Ltd., Celltrion, Inc., and Hospira, Inc. (collectively,

“Defendants”), by and through its counsel, hereby propose the following Post-Trial Jury

Instructions.

       Defendants reserve the right to modify, supplement and/or amend its proposed post-trial

instructions to the jury, including without limitation based upon Janssen’s proposed voir dire

questions, pre- and post-trial instructions to the jury and verdict form; the parties’ arguments

regarding and efforts to agree upon such materials; discussions regarding the Court’s practices for

jury selection; the parties’ discussions regarding the claims and defenses that remain to be tried;

and to respond to any other issues raised and/or resolved after this submission.
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                                  INTRODUCTION1

        Members of the Jury, I am now going to give you the instructions that you must follow in

your deliberations and in deciding this case. I am going to give you the instructions in three parts.

The first part would apply in all civil cases like this one. When we get to the second part, the

instructions will be specific to the issues in this case. After that, I will give you the verdict form.

The instructions correspond to particular questions on the verdict form. Finally, I will give you

the third part of the instructions, which will relate to the process of your deliberating and deciding

the case.

        With regard to the first part of the instructions that would apply to any civil case, as opposed

to a criminal case, I will tell you the following: the law permits me to comment on the evidence

that you have heard, but I choose not to do that. Therefore, as I told you at the beginning of the

case, you should not interpret, or to be more precise, misinterpret anything that I have said or done

in the course of the case or anything I say now as a suggestion of what I think your verdict should

be. That is entirely up to you.

        As I have also told you previously, you must follow the law as I am describing it now. You

should disregard anything the lawyers said in their closing arguments or any other time about the

law if it sounds different or inconsistent with what I am telling you now. In addition, at the outset

of the case, I gave you a very brief preliminary instruction on some of the applicable law to help

you listen to the evidence. If anything I tell you now sounds different than or inconsistent with

what I said at the beginning of case, follow the law as I am describing it now.




1
 Based on the Jury Charge from Alves v. Daly, et al., Civ. No. 12-cv-10935, Jury Trial Day 14 at 96-138, 145-146
(D. Mass. May 26, 2015) (J. Wolf).



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       You should not single out any one instruction. I have endeavored to develop accurate,

complete, balanced descriptions of the various relevant laws. And you should consider the

instructions as a whole. You should also disregard what you may think about what the law should

be. You have taken an oath to follow the law, and this is the law as it has been made, and you

need to apply the law whether you think it is wise or foolish or might be better in some way.

       In the course of deciding the case you are obligated to put aside any possible bias, prejudice,

sympathy or antagonism you might have to one party or another and to decide the facts solely on

the evidence and the law. That means, among other things, that you should not be influenced by

emotion. It also means that you should not consider or be influenced by anything that you might

have read or heard about allegations against any other third party. That was not evidence in this

case, of course, and you have to decide this case based on the evidence that has been presented to

you in court.




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                                    EQUAL BEFORE THE LAW2

         You should understand that all parties are equal before the law. All of the parties in this

case are corporations. Corporations are entitled to the same fair trial as a private individual.

Corporations act through their officers, employees and agents, who may bind the corporation by

their acts and declarations made while acting within the scope of their authority delegated to them

by the corporation or within the scope of their duties as employees of the corporation.3




2
 Based on the Jury Charge from Alves v. Daly, et al., Civ. No. 12-cv-10935, Jury Trial Day 14 at 96-138, 145-146
(D. Mass. May 26, 2015) (J. Wolf).
3
 3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice & Instructions § 103:31 (6th ed. 2016);
see also Manual of Model Civil Jury Instructions for the District Courts of the Ninth Circuit, Instruction 4.2 (2007).



                                                          3
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                                  EVIDENCE4

        I have said to you repeatedly that you have to decide the case based on the evidence. The

evidence has come to you in several forms. It has come to you through the testimony of the

witnesses. It has come to you in the form of exhibits and documents that you will have in the jury

room. In addition, there were facts that the parties stipulated to and agree are true and you may

accept as true. You have also been exposed to some things that are not evidence. As I have told

you repeatedly, anything the lawyers say is not evidence. Their opening statements were not

evidence. The questions they asked were not evidence. The answers were the evidence. And the

closing arguments that they just made were not evidence.

        As occurs in every case, there were objections to some of the questions, some of the

exhibits, and I ruled on those objections. You should not be influenced by the way I ruled. If I

overruled an objection and you heard an answer, you can consider that answer or that exhibit like

any others. If I sustained the objection, you should not speculate or guess what the answer or

exhibit would have been. And if I ordered you to disregard some evidence, you should disregard

it and not rely on it in your deliberations.

        In addition, I ruled that some evidence was admissible for a limited purpose, for example,

against one party but not against other parties, or to be considered for one issue but not another

issue. You are obligated to use that evidence only for those limited purposes. In addition, anything

you may have seen or heard outside of this court is not evidence and you should not consider it or

be influenced by it. Your memory of the evidence will govern in your deliberations. If the lawyers

referred to evidence that you do not remember individually or after discussing the evidence



4
 Based on the Jury Charge from Alves v. Daly, et al., Civ. No. 12-cv-10935, Jury Trial Day 14 at 96-138, 145-146
(D. Mass. May 26, 2015) (J. Wolf).



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collectively, you should rely on the evidence as you remember it, not as the lawyers characterized

it. You should not be influenced by the quality of the lawyering. You are deciding what facts, if

any, have been proven by the evidence.




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                                    USE OF DEPOSITIONS AS EVIDENCE5

         During the trial, certain testimony has been presented by way of deposition. The deposition

consisted of sworn, recorded answers to questions asked of the witness in advance of the trial by

attorneys for the parties to the case. The testimony of a witness who, for some reason, is not

present to testify from the witness stand may be presented in writing under oath or on a videotape.

         Such testimony is entitled to the same consideration and is to be judged as to credibility,

and weighed, and otherwise considered by you, insofar as possible, in the same way as if the

witness had been present and had testified from the witness stand.




5
  3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice & Instructions § 105:02 (6th ed. 2016);
see also Model Civil Jury Instructions for the District Courts of the Third Circuit, Instruction No. 2.5 (2014); Fifth
Circuit Pattern Civil Jury Instructions, Instruction No. 2.13 (2014); Federal Civil Jury Instructions of the Seventh
Circuit, Instruction No. 1.05 (2009); Eleventh Circuit Pattern Jury Instructions (Civil Cases), Instruction No. 2.2
(2013).



                                                          6
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                                  NOTETAKING6

        I said that your recollection of the evidence controls. As I told you at the outset, I let you

take notes because I knew this would be a long trial, but it is impossible to write everything down.

In addition, sometimes your notes may not be accurate. So while the notes can be helpful, do not

assume that if one person wrote it down and somebody else remembers it differently that the person

who wrote it down is necessarily accurate. Use your judgment in making these decisions.




6
 Based on the Jury Charge from Alves v. Daly, et al., Civ. No. 12-cv-10935, Jury Trial Day 14 at 96-138, 145-146
(D. Mass. May 26, 2015) (J. Wolf).



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                                  JUROR USE OF ELECTRONIC COMMUNICATION
                            7
    TECHNOLOGIES

        During your deliberations, you must not communicate with or provide any information to

anyone by any means about this case. You may not use any electronic device or media, such as

the telephone, a cell phone, smart phone, iPhone, Blackberry or computer, the Internet, any Internet

service, any text or instant messaging service, any Internet chat room, blog, or website such as

Facebook, LinkedIn, YouTube or Twitter, to communicate to anyone any information about this

case or to conduct any research about this case until I accept your verdict. In other words, you

cannot talk to anyone in person, or on the phone, or correspond with anyone, or electronically

communicate with anyone about this case. You can only discuss the case in the jury room with

your fellow jurors during deliberations. I expect you will inform me as soon as you become aware

of another juror’s violation of these instructions.

        You may not use these electronic means to investigate or communicate about the case

because it is important that you decide this case based solely on the evidence presented in this

courtroom. Information on the Internet or available through social media might be wrong,

incomplete, or inaccurate. You are only permitted to discuss the case with your fellow jurors

during deliberations because they have seen and heard the same evidence you have. In our judicial

system, it is important that you are not influenced by anything or anyone outside of this courtroom.

Otherwise, your decision may be based on information known only by you and not to your fellow

jurors or the parties in the case. This would unfairly and adversely impact the judicial process.




7
 Based on 3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice & Instructions § 103:04 (6th
ed. 2016).



                                                       8
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                                  PROVINCE OF THE JURY8

        As the jury, you are the judges of the facts. You decide what facts have been proven by a

preponderance of the evidence or by clear and convincing evidence, and then you decide what

inferences, what conclusions to draw from those facts. As part of this — and it happens in every

trial — you are called upon to judge the credibility, the believability of evidence that is disputed.

You can, if you feel you should, accept as true everything that a witness said. You could also find

that everything a witness said is not true. And you could also find that some of what the witness

said is true and some of what the witness said is not true. And so as I said, when you consider

each witness’s testimony, each piece of disputed evidence, you can choose to believe all of it, you

can choose to believe none of it, or you can find that some of it is true and some of it is not true.

And once you find that certain testimony or evidence is credible (believable), then you decide what

weight to give that evidence, which means how much importance to attach to it.

        In addition, once facts are proven, you can use your experience and your common sense to

draw reasonable inferences from proven facts. I told you a few minutes ago you were required to

put aside any bias or prejudice or sympathy you might have for one side or the other, but you are

not expected to put aside your experience and your common sense. In fact, you are here as a jury

in part to bring the common sense of the community in making judgments with regard to disputed

evidence in deciding what facts are proven.




8
 Based on the Jury Charge from Alves v. Daly, et al., Civ. No. 12-cv-10935, Jury Trial Day 14 at 96-138, 145-146
(D. Mass. May 26, 2015) (J. Wolf).



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                                  DIRECT AND CIRCUMSTANTIAL EVIDENCE9

        As I told you at the beginning of the case, the evidence falls into two categories. There is

direct evidence, such as the testimony of an eyewitness who says, “I was there and this is what I

saw.” And then there is circumstantial evidence. Circumstantial evidence is proof of events from

which you can infer that other facts exist. And as I told you at the beginning of the case, reasoning

from circumstantial evidence may initially seem like some complicated legal concept, but it is

really something you do every day of your life. So to remind you of the example I gave you at the

beginning of the case and elaborate on it, if you go to sleep and the ground is green in front of your

house, and you wake up in the morning and there is six inches of snow on the ground, you would

infer that during the night, while you were sleeping, it snowed, although you did not actually see

the snow falling from the sky. Nobody told you that happened. And then to elaborate a bit, if you

saw footsteps in the snow leading up to your door, you would infer that during the night, while

you were sleeping, somebody came to your front door. And if your newspaper was at the end of

the footsteps, you would infer that during the night, while you were sleeping, whoever delivers the

newspaper came and delivered the newspaper. That is reasoning from circumstantial evidence.




9
 Based on the Jury Charge from Alves v. Daly, et al., Civ. No. 12-cv-10935, Jury Trial Day 14 at 96-138, 145-146
(D. Mass. May 26, 2015) (J. Wolf).



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                                  CREDIBILITY10

        I would like to give you somewhat of a commonsense checklist that you might want to use

in deciding issues of credibility, in evaluating the believability of disputed testimony and other

evidence. So with regard to all the witnesses, you should start with an open mind and ask yourself

questions, such as the following:

        Did the witness seem honest or biased or hostile? Did the witness have a motive not to tell

the truth? Did the witness have an interest in the outcome of the case? Did the witness seem to

have a good memory? Did the witness have a good opportunity to observe what he or she was

testifying to? How reasonable is the witness’s story? And was it consistent with the testimony of

others, that witness’s prior testimony and other believable evidence in the case?




10
  Based on the Jury Charge from Alves v. Daly, et al., Civ. No. 12-cv-10935, Jury Trial Day 14 at 96-138, 145-146
(D. Mass. May 26, 2015) (J. Wolf).



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                                    BURDEN OF PROOF11

         This is a civil case. On every issue one party or the other, either Janssen or the Defendants,

has the burden of proof. As we go through the verdict form and my instructions, I will tell you

who has the burden of proof on which question. In this civil case, there are two burdens of proof:

(1) preponderance of the evidence, and (2) clear and convincing evidence.

         To establish by a preponderance of the evidence means to prove that something is more

likely than not. In other words, a preponderance of the evidence means that the evidence, when

considered and compared with the evidence opposed to it, has more convincing force and produces

in your minds the belief that what a party seeks to prove is more likely true than not true. If you

want to try to visualize this, if you think of the scales of justice, the party with the burden of proof

has to provide evidence that you believe would tip the scales at least slightly in that party’s favor.

         When a party has the burden of proving any claim or defense by clear and convincing

evidence, it means that the party must present evidence that leaves you with a firm belief or

conviction that it is highly probable that the factual contentions of the claim or defense are true.

This is a higher standard of proof than proof by a preponderance of the evidence, but it does not

require proof beyond a reasonable doubt.

         In determining whether any fact in issue meets the applicable burden of proof, you may,

unless otherwise instructed, consider the testimony of all witnesses regardless of who called them

and all exhibits received in evidence regardless of who may have introduced them. The burden of

proof has not been carried if after you have considered all the evidence you find that you must




11
  Based on the Jury Charge from Alves v. Daly, et al., Civ. No. 12-cv-10935, Jury Trial Day 14 at 96-138, 145-146
(D. Mass. May 26, 2015) (J. Wolf); 9th Circuit, Manual of Model Civil Jury Instructions 1.4 (citing Colorado v. New
Mexico, 467 U.S. 310, 316 (1984).); see also Model Patent Jury Instructions, Fed. Circuit Bar Ass’n, Instr. B.4.1 (July
2016).



                                                         12
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speculate, guess or imagine that one or more of the necessary facts is true. Although on each issue

the burden is on one party or the other to prove its contention, this rule does not of course require

proof to an absolute certainty, since proof to an absolute certainty is seldom possible. In addition,

because this is not a criminal case, the party with the burden of proof is not required to prove

anything beyond a reasonable doubt. In a civil case like this one, there are lower standards of

proof: proof by a preponderance of the evidence or clear and convincing evidence.




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                                  EXPERT TESTIMONY12

        The rules of evidence ordinarily do not ordinarily permit witnesses to testify as to opinions

or conclusions. There is an exception to this rule for “expert witnesses.” An expert witness is a

person who by education and experience has become expert in some art, science, profession, or

calling. Expert witnesses state their opinions as to matters in which they profess to be expert, and

may also state their reasons for their opinions.13

        In the course of the case you heard from several experts, who were permitted to testify

based on their training and experience essentially as experts because they had opinions that might

be helpful to you. However, that kind of opinion testimony is like all other testimony. You have

to decide what you believe and then decide what weight to give any testimony you find believable.

In judging the credibility, or believability of expert testimony, you may consider the person’s

training and experience. You should disregard any speculation or guesswork. If an opinion

expressed is based on an assumed fact that you do not find to have been proven, then you must

disregard that opinion to the extent that it relied on that assumed fact.

        An expert witness is like any other witness. You can accept everything he or she said,

some of what he or she said, or none of what he or she said. That is up to you. If you decide to

accept some or all of it, you also need to decide what weight to give to that evidence—i.e., how

important it is.




12
  Based on the Jury Charge from Alves v. Daly, et al., Civ. No. 12-cv-10935, Jury Trial Day 14 at 96-138, 145-146
(D. Mass. May 26, 2015) (J. Wolf).
13
  3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice & Instructions § 104:40 (6th ed.
2016).



                                                       14
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                                 ANSWERS TO INTERROGATORIES14

        Each party has introduced into evidence certain interrogatories—that is, questions together

with answers signed and sworn to by the other party. A party is bound by its sworn answers.

        By introducing an opposing party’s answers to interrogatories, the introducing party does

not bind itself to those answers. The introducing party may challenge the opposing party’s answers

in whole or in part or may offer contrary evidence.




14
  3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice & Instructions § 104:72 (6th ed.
2016).



                                                     15
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                                      CHARTS AND SUMMARIES15

         Charts and summaries have been shown to you in order to help explain facts disclosed by

books, records, and other documents in evidence in the case. Unless I instruct you otherwise, these

charts or summaries are not themselves evidence or proof of any facts.

         The charts and summaries are used only as a matter of convenience. To the extent that you

find they are not accurate summaries of facts shown by the evidence in the case, you are to

disregard them entirely.




15
  3 Kevin F. O’Malley, Jay Grenig, and William C. Lee, Federal Jury Practice & Instructions § 104:50 (6th ed.
2016); see also Fifth Circuit Pattern Civil Jury Instructions, Instruction No. 2.7 (2014); 8th Cir. Civil Jury Instr. § 2.11
(2014); Manual of Model Civil Jury Instructions for the District Courts of the Ninth Circuit, Instruction No. 2.12
(2007).



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                                       DEMONSTRATIVE EXHIBITS16

           Certain demonstrative exhibits, such as models, diagrams, timelines, and sketches, have

been shown to you. Those exhibits are used for convenience and to help explain the facts of the

case. Unless I instruct you otherwise, they are not themselves evidence or proof of any facts.




16
     Based on Federal Civil Jury Instructions of the Seventh Circuit, Instruction No. 1.24 (2009).



                                                            17
      Case 1:17-cv-11008-MLW Document 332-6 Filed 06/04/18 Page 25 of 103



                                   MULTIPLE DEFENDANTS17

        You must give separate consideration to each claim and each party in this case. Although

there are multiple defendants—Celltrion (which includes Celltrion Healthcare Co., Ltd. and

Celltrion, Inc.) and Hospira—it does not follow that if one is liable, another is also liable. In

considering a claim against a defendant, you must not consider evidence admitted only against

other defendants or only as to other claims.




17
  Based on Federal Civil Jury Instructions Of The Seventh Circuit, Committee on Pattern Civil Jury Instructions of
the Seventh Circuit, 1.25 (2005).



                                                       18
      Case 1:17-cv-11008-MLW Document 332-6 Filed 06/04/18 Page 26 of 103



                                  TRANSITION TO CASE-SPECIFIC INSTRUCTIONS18

        That completes the first of the three parts of my instructions, the instructions that apply in

every civil case. I will now give you instructions specific to this case.




18
  Based on the Jury Charge from Alves v. Daly, et al., Civ. No. 12-cv-10935, Jury Trial Day 14 at 96-138, 145-146
(D. Mass. May 26, 2015) (J. Wolf).



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         Case 1:17-cv-11008-MLW Document 332-6 Filed 06/04/18 Page 27 of 103



                                      SUMMARY OF CONTENTIONS19,20

           As I did at the start of the case, I will first give you a summary of each side’s contentions

in this case. I will then provide you with detailed instructions on what each side must prove to win

on each of its contentions.

           As I previously told you, Janssen alleges that Celltrion and Hospira infringe claims 1 and

2 of the ’083 patent. Specifically, Janssen alleges that General Electric Company’s subsidiary GE

Healthcare (also known as GE, GE HyClone, or HyClone), which is not a defendant in this case,

directly infringes the ’083 patent by making two cell culture media powders that Janssen argues

are covered by claims 1 and 2 of the ’083 patent. Janssen admits that the accused media powders

do not literally infringe the ’083 patent because there are differences between the accused products

and the asserted claims. Specifically, Janssen admits that the concentrations of at least 12

ingredients in each accused product fall outside of the ranges listed in claim 1 of the ’083 patent.

Instead, Janssen alleges that GE HyClone has infringed the ’083 patent under the doctrine of

equivalents by making the cell culture media powders in the United States. The GE HyClone

media powders that are alleged to infringe are (1) Catalog No. SH3A2713, also known as the

growth powder, or the growth media powder, and (2) Catalog No. SH3A2800, also known as the

production powder, or the production media powder. Janssen also alleges that GE HyClone

infringes the ’083 patent by supplying or causing to be supplied in or from the United States all or

a substantial portion of the components listed in claims 1 and 2 of the ’083 patent, where such

components are uncombined in whole or in part, in such manner as to actively induce the


19
     Based on Model Patent Jury Instructions, Fed. Circuit Bar Ass’n, Instr. B.1 (July 2016).
20
   Defendants have moved for summary judgment of non-infringement for Hospira. As part of that briefing,
Defendants dispute the legal validity of any theory of infringement for Hospira based on an alleged joint enterprise
with Celltrion. To the extent the Court denies Defendants’ motion, Defendants will propose a modified version of this
instruction to incorporate Janssen’s allegations under a joint enterprise theory.



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combination of such components outside of the United States in a manner that would infringe the

patent if such combination occurred within the United States. Janssen makes three arguments in

an effort to hold Celltrion and Hospira liable for this alleged infringement.

       First, as to Celltrion only, Janssen argues that even though Celltrion does not make the

media powders, it should be held vicariously liable for GE HyClone’s alleged acts of direct

infringement under the theory that GE HyClone acted as Celltrion’s agent in manufacturing the

accused media powders.

       Second, Janssen argues that Celltrion is liable for actively inducing GE HyClone to make

the allegedly infringing media powders.

       Third, Janssen argues that Hospira is liable for actively inducing GE HyClone to make the

allegedly infringing media powders.

       Janssen also alleges that Celltrion and Hospira infringe the ’083 patent by causing to be

supplied in or from the United States all or a substantial portion of the components listed in claims

1 and 2 of the ’083 patent, where such components are uncombined in whole or in part, in such

manner as to actively induce the combination of such components outside of the United States in

a manner that would infringe the patent if such combination occurred within the United States.

       You must consider each company separately when determining whether either actively

induced GE HyClone’s alleged direct infringement.

       Celltrion and Hospira both deny that GE HyClone directly infringed the asserted claims of

the ’083 patent, because they deny that the GE HyClone media powders meet all of the

requirements of claims 1 and 2 of the ’083 patent literally or under the doctrine of equivalents. If

the GE HyClone media powders do not directly infringe, then there can be no infringement by

Celltrion or Hospira. Celltrion also denies that it is vicariously liable for GE HyClone’s alleged




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direct infringement under an agency theory. Both Celltrion and Hospira also deny that they have

actively induced any infringement by GE HyClone. Both Celltrion and Hospira also deny that

they have caused the supply of components from the United States in such manner as to actively

induce the combination of such components outside of the United States in a manner that would

infringe the patent if such combination occurred within the United States. Finally, Celltrion and

Hospira allege that claims 1 and 2 of the ’083 patent are invalid due to obviousness and/or lack of

written description.

       Your job is to decide whether GE HyClone’s media powders directly infringe the asserted

claims of the ’083 patent, whether Celltrion is vicariously liable for GE HyClone’s alleged direct

infringement, whether Celltrion has actively induced GE HyClone’s alleged direct infringement,

whether Hospira has actively induced GE HyClone’s alleged direct infringement, and whether the

asserted claims of the ’083 patent are invalid.

       If you find that Celltrion or Hospira is liable for infringement of one or more of the asserted

claims of the ’083 patent and you find that the infringed claim(s) are valid, you will determine

what amount of damages, if any, Janssen is entitled to due to infringement of the ’083 patent.




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                                      THE ROLE OF THE CLAIMS OF A PATENT21

           Before you can decide many of the issues in this case, you will need to understand the role

of patent “claims.” The patent claims are the numbered sentences at the end of a patent. The

claims are important because it is the words of the claims that define what a patent covers. The

figures and text in the rest of the patent provide a description and/or examples of the invention and

put the claims in context, but it is the claims themselves that define what the patent covers and

does not cover. Each claim is effectively treated as if it were a separate patent, and each claim

may cover more or less than another claim. Therefore, what a patent covers depends, in turn, on

what each of its claims covers. A patent claim must describe the exact scope of the invention to

apprise the public of what is still open to them.22

           To decide whether or not there is infringement of each claim, and to decide whether each

claim is invalid, you will first need to understand what each claim covers. The law says that it is

my role to define the terms of the claims and it is your role to apply my definitions to the issues

that you are asked to decide in this case. Therefore, as I explained to you at the start of the case, I

have determined the meaning of certain words in the claims and I will provide to you my

definitions of those certain claim terms. You must accept my definitions of these words in the

claims as being correct. It is your job to take these definitions and apply them to the issues that

you are deciding, including the issues of infringement and validity.




21
     Based on Model Patent Jury Instructions, Fed. Circuit Bar Ass’n, Instr. B.2.1 (July 2016).
22
  Markman v. Westview Instruments, Inc., 517 U.S. 370, 373 (1996) (“It has long been understood that a patent must
describe the exact scope of an invention and its manufacture to ‘secure to [the patentee] all to which he is entitled,
[and] to apprise the public of what is still open to them.’”); see also Nautilus, Inc. v. Biosig Instruments, Inc., 134 S.
Ct. 2120, 2129 (2014).



                                                           23
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                                      HOW A CLAIM DEFINES WHAT IT COVERS23

           I will now explain how a claim defines what it covers.

           A claim sets forth, in words, a set of requirements. Each claim sets forth its requirements

in a single sentence. If a product satisfies each of these requirements, then it is covered by the

claim.

           There can be several claims in a patent. Each claim may be narrower or broader than

another claim by setting forth more or fewer requirements. The coverage of a patent is assessed

claim-by-claim. In patent law, the requirements of a claim are often referred to as “claim elements”

or “claim limitations.” For example, “anhydrous CaCl2 [calcium chloride], 5-200 mg” is an

“element” or “limitation” of claim 1. When a thing (such as a product) meets all of the

requirements of a claim, the claim is said to “cover” that thing, and that thing is said to “fall” within

the scope of that claim. In other words, a claim covers a product where each of the claim elements

or limitations is present in the product.

           As I just instructed you, there are certain specific terms that I have defined and you are to

apply the definitions that I provide to you.

           By understanding the meaning of the words in a claim, and by understanding that the words

in a claim set forth the requirements that a product must meet in order to be covered by that claim,

you will be able to understand the scope of coverage for each claim. Once you understand what

each claim covers, then you are prepared to decide the issues that you will be asked to decide, such

as infringement and invalidity.




23
     Based on Model Patent Jury Instructions, Fed. Circuit Bar Ass’n, Instr. B.2.2 (July 2016).



                                                           24
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                                      INDEPENDENT AND DEPENDENT CLAIMS24

           This case involves two types of patent claims: independent claims and dependent claims.

           An “independent claim” sets forth all of the requirements that must be met in order to be

covered by that claim. Thus, it is not necessary to look at any other claim to determine what an

independent claim covers. In this case, claim 1 of the ’083 patent is an independent claim.

           Claim 2 is a “dependent claim.” A dependent claim does not itself recite all of the

requirements of the claim but refers to another claim for some of its requirements. In this way, the

claim “depends” on another claim. Claim 2 incorporates all of the requirements of claim 1, to

which it refers. Claim 2 then adds its own additional requirements. To determine what claim 2

covers, it is necessary to look at both claim 2 and claim 1 to which it refers. For a product to be

covered by claim 2, it must meet all of the requirements of both claim 2 and claim 1.




24
     Based on Model Patent Jury Instructions, Fed. Circuit Bar Ass’n, Instr. B.2.2.a (July 2016).



                                                           25
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                                      CLAIM INTERPRETATION

           I will now explain to you the meaning of some of the words of the claims in this case. In

doing so, I will explain some of the requirements of the claims. As I have previously instructed

you, you must accept my definition of these words in the claims as correct. For any words in the

claim for which I have not provided you with a definition, you should apply their common meaning

to a person of ordinary skill in the art. You should not take my definition of the language of the

claims as an indication that I have a view regarding how you should decide the issues that you are

being asked to decide, such as infringement and invalidity. These issues are yours to decide.25

           “Cell culture media” in the beginning of claim 1 means “nutritive media for culturing

cells.”26

           The asserted claims also contain several ingredients that may be at concentrations as low

as zero. For example, claim 1 recites “sodium hypoxanthine, 0.0-20.0 mg.” These limitations are

called “optional” insofar as their absence or presence in the accused media within the upper limit

of the claimed range has no bearing on infringement and their absence or presence in the prior art

within the upper limit of the claimed range has no bearing on invalidity.




25
     Based on Model Patent Jury Instructions, Fed. Circuit Bar Ass’n, Instr. B.2.3 (July 2016).
26
     Dkt. No. 226, 8/19/2016 Memorandum and Order at ¶ 4.



                                                           26
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                                      INFRINGEMENT GENERALLY27

           I will now instruct you how to decide whether or not GE HyClone, Celltrion, or Hospira

has infringed the ’083 patent. Infringement is assessed on a claim-by-claim and party-by-party

basis. Therefore, there may be infringement as to one patent claim but no infringement as to

another. There may be infringement by one defendant but not another.

           In this case, there are two possible ways that a claim may be infringed. The two types of

infringement are called: (1) direct infringement; and (2) active inducement. Direct infringement

is when a person or company itself infringes a patent. Active inducement is referred to as “indirect

infringement” and it occurs when a person or company knowingly and intentionally takes

affirmative steps to induce another person or company to directly infringe.28 There cannot be

indirect infringement without someone else engaging in direct infringement. As I will explain

further below, to prove active inducement of infringement, Janssen must also prove that Celltrion

or Hospira’s alleged active inducement caused the direct infringement that Janssen claims was

committed by GE HyClone.

           In order to prove infringement, Janssen must prove that the requirements for these types of

infringement are met by a preponderance of the evidence, i.e., that it is more likely than not that

all of the requirements of one or more of each of these types of infringement have been proved.

           I will now explain each of these types of infringement in more detail.




27
     Based on Model Patent Jury Instructions, Fed. Circuit Bar Ass’n, Instr. B.3.1 (July 2016).
28
   35 U.S.C. § 271(b) (“Whoever actively induces infringement of a patent shall be liable as an infringer.”); Glob.-
Tech Appliances, Inc. v. SEB S.A., 563 U.S. 754, 760 (2011) (“the adverb ‘actively’ suggests that the inducement must
involve the taking of affirmative steps to bring about the desired result”); DSU Med. Corp. v. JMS Co., 471 F.3d 1293,
1306 (Fed. Cir. 2006) (en banc) (“Accordingly, inducement requires evidence of culpable conduct, directed to
encouraging another’s infringement, not merely that the inducer had knowledge of the direct infringer’s activities.”).



                                                           27
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                                      DIRECT INFRINGEMENT BY “LITERAL
                                29
       INFRINGEMENT”

           There are two types of “direct infringement”: (1) “literal infringement” and (2)

“infringement under the doctrine of equivalents.” In order to prove direct infringement by literal

infringement, Janssen must prove by a preponderance of the evidence, i.e., that it is more likely

than not, that the growth powder and the production powder that GE HyClone made in the United

States meet all of the requirements of the asserted claims.

           In this case, it is undisputed that the accused GE HyClone media powders do not literally

meet all of the requirements of asserted claims 1 and 2, and thus do not literally infringe those

claims. The amounts of at least 12 ingredients in the accused media powders do not fall within

the ranges required by the asserted claims. Thus, Janssen does not allege that GE HyClone’s media

products literally infringe the asserted claims. Janssen’s claim of direct infringement requires it to

apply the doctrine of equivalents. I will address this in detail in a moment.

           You must compare each accused product with each and every one of the requirements of a

claim to determine whether all of the requirements of that claim are met. You must determine,

separately for each asserted claim, whether or not there is infringement. There is one exception to

this rule. If you find that a claim on which other claims depend is not infringed, there cannot be

infringement of any dependent claim that refers directly or indirectly to that independent claim. In

this case, that means that if you find that claim 1 is not infringed, claim 2 cannot be infringed. On

the other hand, if you find that an independent claim has been infringed, you must still decide,

separately, whether the accused product meets additional requirements of any claims that depend

from the independent claim, thus, whether those claims have also been infringed. A dependent



29
     Based on Model Patent Jury Instructions, Fed. Circuit Bar Ass’n, Instr. B.3.1.a (July 2016).



                                                           28
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claim includes all the requirements of any of the claims to which it refers plus additional

requirements of its own.




                                            29
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                        APPLICATION OF DIRECT INFRINGEMENT UNDER
       THE DOCTRINE OF EQUIVALENTS TO THIS CASE30

           As I mentioned a moment ago, Janssen agrees that the amounts of at least 12 ingredients

in the accused media powders do not fall within the ranges required by the asserted claims.

Therefore, the accused media products do not literally infringe asserted claims 1 and 2.

           Janssen instead alleges direct infringement of asserted claims 1 and 2 under the “doctrine

of equivalents.” Under the doctrine of equivalents, a product infringes a claim if the accused

product contains elements corresponding to each and every requirement of the claim literally, or

if an element is not present literally, the accused product contains elements equivalent to those

claim limitations not literally met by the accused product. Janssen argues that the GE HyClone

media powders infringe under the doctrine of equivalents because while certain ingredients are

present in an amount outside of that required by the claims, Janssen contends that the amount

present in the media powder is equivalent to the amount claimed.

             You may find that an ingredient amount is equivalent to a range recited in a claim if a

person having ordinary skill in the field of technology of the patent would have considered the

differences between the ingredient amount and the claimed range to be “insubstantial,” or would

have found that the particular ingredient amount: (1) performs substantially the same function and

(2) works in substantially the same way (3) to achieve substantially the same result as the range

required by the claim. These tests are referred to as the insubstantial differences test and the

function-way-result test. Janssen bears the burden of proving by a preponderance of the evidence

each prong of this function-way-result test.31                    And, in order to prove infringement by


30
     Based on Model Patent Jury Instructions, Fed. Circuit Bar Ass’n, Instr. B.3.1.c (July 2016).
31
  Advanced Steel Recovery, LLC v. X-Body Equip., Inc., 808 F.3d 1313, 1320 (Fed. Cir. 2015) (“To survive summary
judgment of noninfringement under the doctrine of equivalents, [patentee] had to present evidence of equivalence
under each prong of the function-way-result test.”).



                                                           30
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“equivalents,” Janssen must prove the equivalency of the ingredient amount to a claimed range by

a preponderance of the evidence. It is important to keep in mind that the application of the doctrine

of equivalents is the exception and not the rule.32

         You must compare each accused media powder with each and every one of the

requirements of a claim to determine whether all of the requirements of that claim are met, either

literally or under the doctrine of equivalents. As the plaintiff, Janssen must provide particularized

testimony and linking argument as to the insubstantiality of the differences between the claimed

invention and the accused products, or with respect to the function, way, result test.33

         If you find that independent claim 1 is not infringed, there cannot be infringement of

dependent claim 2. On the other hand, if you find that independent claim 1 has been infringed,

you must still decide, separately, whether the media powder meets additional requirements of

claim 2. Dependent claim 2 includes all the requirements of independent claim 1, plus additional

requirements of its own.




32
   London v. Carson Pirie Scott & Co., 946 F.2d 1534, 1538 (Fed. Cir. 1991) (“Application of the doctrine of
equivalents is the exception, however, not the rule, for if the public comes to believe (or fear) that the language of
patent claims can never be relied on, and that the doctrine of equivalents is simply the second prong of every
infringement charge, regularly available to extend protection beyond the scope of the claims, then claims will cease
to serve their intended purpose. Competitors will never know whether their actions infringe a granted patent.”).
33
  Advanced Steel Recovery, LLC v. X-Body Equip., Inc., 808 F.3d 1313, 1319 (Fed. Cir. 2015) (“[A] patentee must
… provide particularized testimony and linking argument as to the insubstantiality of the differences between the
claimed invention and the accused device or process, or with respect to the function, way, result test when such
evidence is presented to support a finding of infringement under the doctrine of equivalents.”).



                                                         31
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                      DOCTRINE OF EQUIVALENTS—APPLICATION ON A
     LIMITATION-BY-LIMITATION BASIS

         The application of the doctrine of equivalents must be applied to individual limitations of

the patent claim, not to the invention as a whole. In other words, the doctrine of equivalents must

be applied on a limitation-by-limitation basis.34 This is because each limitation contained in a

patent claim contributes to defining the scope of the patented invention. Merely comparing the

overall result of an accused product to an asserted patent claim is not enough to prove

equivalence.35

         In this case, Janssen agrees that the accused growth media powder is missing at least 13

limitations because at least 13 ingredient concentrations fall outside of the literal ranges listed in

claim 1 of the ’083 patent. Janssen also agrees that the accused production media powder is

missing at least 12 limitations because at least 12 ingredient concentrations fall outside of the

literal ranges listed in claim 1 of the ’083 patent. In order to prove infringement under the doctrine

of equivalents, Janssen must prove that each and every one of these ingredients is equivalent to its

corresponding claim limitation concentration.




34
   Warner-Jenkinson Co. v. Hilton Davis Chem. Co., 520 U.S. 17, 29 (1997) (“Each element contained in a patent
claim is deemed material to defining the scope of the patented invention, and thus the doctrine of equivalents must be
applied to individual elements of the claim, not to the invention as a whole. It is important to ensure that the application
of the doctrine, even as to an individual element, is not allowed such broad play as to effectively eliminate that element
in its entirety.”).
35
   Warner-Jenkinson Co. v. Hilton Davis Chem. Co., 520 U.S. 17, 29 (1997) (“Each element contained in a patent
claim is deemed material to defining the scope of the patented invention, and thus the doctrine of equivalents must be
applied to individual elements of the claim, not to the invention as a whole. It is important to ensure that the application
of the doctrine, even as to an individual element, is not allowed such broad play as to effectively eliminate that element
in its entirety.”); Advanced Steel Recovery, LLC v. X-Body Equip., Inc., 808 F.3d 1313, 1320 (Fed. Cir. 2015)
(“Generalized testimony as to the overall similarity between the claims and the accused infringer’s product or process
will not suffice.”) (quotations and citations omitted).



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                                      VITIATION AND DOCTRINE OF EQUIVALENTS

            There can be no infringement under the doctrine of equivalents if even one element of a

claim or its equivalent is not present in the accused device.36

            Each element contained in a patent claim is material to defining the scope of the patented

invention, and thus the doctrine of equivalents must be applied to individual elements of the claim,

not to the invention as a whole.37 It is important to ensure that the application of the doctrine, even

as to an individual element, such as the concentration ranges claimed in the ’083 patent, is not

allowed such broad play as to effectively eliminate that element in its entirety.38 Not all claim

limitations are entitled to an equal scope of equivalents. You may find, due to the inherent

narrowness of language in the patent claims, that the concentration claim limitations warrant little,

if any, range of equivalents.39,40 A generalized showing of equivalency between the claim as a


36
   Lockheed Martin Corp. v. Space Sys./Loral, Inc., 324 F.3d 1308, 1321 (Fed. Cir. 2003) (“Under the all elements
rule, there can be no infringement under the doctrine of equivalents if even one limitation of a claim or its equivalent
is not present in the accused device.”).
37
    Warner-Jenkinson Co. v. Hilton Davis Chem. Co., 520 U.S. 17, 29 (1997) (“Each element contained in a patent
claim is deemed material to defining the scope of the patented invention, and thus the doctrine of equivalents must be
applied to individual elements of the claim, not to the invention as a whole. It is important to ensure that the application
of the doctrine, even as to an individual element, is not allowed such broad play as to effectively eliminate that element
in its entirety.”); see also Akzo Nobel Coatings, Inc. v. Dow Chem. Co., 811 F.3d 1334, 1342 (Fed. Cir. 2016) (“[A]ll
claim limitations are not entitled to an equal scope of equivalents. Ultimately, many limitations warrant little, if any,
range of equivalents.” (internal citations and quotation marks omitted)); id. (“Under the doctrine of equivalents, an
infringement theory thus fails if it renders a claim limitation inconsequential or ineffective.”); London v. Carson Pirie
Scott & Co., 946 F.2d 1534, 1538 (Fed. Cir. 1991) (“Application of the doctrine of equivalents is the exception,
however, not the rule, for if the public comes to believe (or fear) that the language of patent claims can never be relied
on, and that the doctrine of equivalents is simply the second prong of every infringement charge, regularly available
to extend protection beyond the scope of the claims, then claims will cease to serve their intended purpose.
Competitors will never know whether their actions infringe a granted patent.”); see also Model Patent Jury
Instructions, Fed. Circuit Bar Ass’n, Instr. B.3.1.d (July 2016); Moore U.S.A., Inc. v. Standard Register Co., 229 F.3d
1091, 1106 (Fed. Cir. 2000) (“[A]ll claim limitations are not entitled to an equal scope of equivalents. Whether the
result of the All Limitations Rule, prosecution history estoppel, or the inherent narrowness of the claim language,
many limitations warrant little, if any, range of equivalents.” (internal citations omitted)).
38
     Id.
39
     Id.
40
  Defendants contend that the ’083 patent’s claimed ranges are so precise that Janssen should be precluded from using
the doctrine of equivalents to expand them at all. Advanced Steel Recovery, LLC v. X-Body Equip., Inc., 808 F.3d


                                                            33
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whole and the allegedly infringing product or process is not sufficient to show infringement under

the doctrine of equivalents.41 In no case may the doctrine of equivalents ignore the individual

claim elements.42

         Some elements in the asserted claims of the ’083 patent recite ingredients and ranges of

amounts for those ingredients. You may not ignore the claimed range merely because the same

ingredient is present in the GE HyClone media powder. For the range of amounts, the doctrine of

equivalents is not satisfied merely by showing the same ingredient is present in the accused

product. Equivalence must be shown between the claimed numerical range and the concentration

of the ingredient in the accused product.43




1313, 1321 (Fed. Cir. 2015) (holding that doctrine of equivalents cannot “ignore the precise and specific . . . limitations
in the claims”); see also Nautilus, Inc. v. Biosig Instruments, Inc., 134 S. Ct. 2120, 2129 (2014) (“[A] patent must be
precise enough to afford clear notice of what is claimed, thereby ‘appris[ing] the public of what is still open to them.’
Otherwise there would be ‘[a] zone of uncertainty which enterprise and experimentation may enter only at the risk of
infringement claims.’”); Warner-Jenkinson Co. v. Hilton Davis Chem. Co., 520 U.S. 17, 29 (1997) (“There can be no
denying that the doctrine of equivalents, when applied broadly, conflicts with the definitional and public-notice
functions of the statutory claiming requirement.”); Festo Corp. v. Shoketsu Kinzoku Kogyo Kabushiki, 493 F. 3d 1368,
1379 (Fed. Cir. 2007) (“The theory of the doctrine of equivalents is that an applicant through the doctrine of
equivalents should only be able to protect the scope of his invention, not to expand the protectable scope of the claimed
invention to cover a new and unclaimed invention.” (internal citation omitted)).
41
    See id.; Abbott Labs. v. Sandoz, Inc., 566 F.3d 1282, 1296 (Fed. Cir. 2009) (“Infringement analysis under the
doctrine of equivalents proceeds element-by-element; a generalized showing of equivalency between the claim as a
whole and the allegedly infringing product or process is not sufficient to show infringement.”); Intellectual Ventures
I, LLC v. Canon Inc., 143 F. Supp. 3d 143, 155 (D. Del. 2015) (“The mere showing that an accused device is equivalent
overall to the claimed invention is insufficient to establish infringement under the doctrine of equivalents.”).
42
  Abbott Labs. v. Sandoz, Inc., 566 F.3d 1282, 1297 (Fed. Cir. 2009) (“In no case, however, may the doctrine of
equivalents ignore the individual claim elements.”).
43
   Forest Laboratories, Inc. v. Abbott Laboratories, 239 F. 3d 1305, 1313 (Fed. Cir. 2001) (“Abbott presented
testimony that the percentage of water in CLSE is irrelevant because the pharmaceutical composition made from
CLSE, Infasurf®, is ‘nearly all water.’ As the court noted, however, this testimony does not satisfy Abbott’s burden
of proving that the percentage of water in CLSE, if any, is equivalent to the percentages of water set forth in claim 1
of the ’301 and ’839 patents. . . . A statement that water is ‘irrelevant’ does not establish that an unknown percentage
of water is equivalent to the claimed water percentages. If we accepted this testimony and treated the water limitation
as irrelevant, we would be vitiating that limitation.” (internal citations omitted)); Advanced Steel Recovery, LLC v. X-
Body Equip., Inc., 808 F.3d 1313, 1317 (Fed. Cir. 2015) (“A patentee, bearing the burden of showing equivalence,
cannot merely point to other claim limitations to satisfy the doctrine of equivalents. Doing so runs afoul of the ‘all-
elements rule’ articulated in Warner-Jenkinson.”); see also Revlon Consumer Prods. Corp. v. Estee Lauder Co., No.
00-5960, 2003 WL 21751833, at *40 (S.D.N.Y. Jul. 30, 2003) (“Revlon fails to assert what range would suffice.


                                                           34
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           Janssen cannot support its claim for infringement under the doctrine of equivalents by

arguing that a recited range is irrelevant.44 The doctrine of equivalents may not be applied so

broadly as to encompass any alternative that accomplishes the same performance.45




Instead, Revlon asserts that the degree of coating is irrelevant as long as it results in hydrophobicity—effectively
vitiating the structural coating element.”).
44
   Amazin’ Raisins Int’l, Inc. v. Ocean Spray Cranberries, Inc., 306 F. App’x 553, 558-59 (Fed. Cir. Oct. 31, 2008)
(“To find that an item of fruit with a moisture content between 87 to 90% is insubstantially different from an item of
dried fruit with a moisture content between 10 to 18% would defy reason and necessarily render the ‘dried fruit’
limitation meaningless.”); see also Tronzo v. Biomet, Inc., 156 F.3d 1154, 1160 (Fed. Cir. 1998) (“According to the
expert testimony, any shape would be equivalent to the conical limitation of claims 2 and 10. Such a result is
impermissible under the all-elements rule of Warner-Jenkinson because it would write the ‘generally conical outer
surface’ limitation out of the claims”); Chiron Corp. v. SourceCF Inc., 431 F. Supp. 2d 1019, 1035–36 (N.D. Cal.
2006) (“Under Chiron’s view, concentration would become meaningless. This became glaringly obvious during the
testimony of Chiron’s expert . . . When he was asked to run the numbers for even weaker concentrations, i.e.,
concentrations at 30 mg/ml or less, the difference in lung-captured amounts was yet again small. His methodology
tended to prove that almost any weak concentration would still infringe.”); Talbert Fuel Sys. Patents Co. v. Unocal
Corp., 347 F.3d 1355, 1360 (Fed. Cir. 2003) (“The Unocal fuels do not simply depart by a few degrees from 345°F,
but have ‘true boiling point endpoints ranging from 373.8°F to 472.9°F.’ . . . [N]o reasonable trier of fact could find
only insubstantial differences between fuels having an endpoint of 345°F and fuels with the endpoints shown for the
Unocal fuels.”).
45
     See, id.



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                                     INFRINGEMENT—COMPARISON TO THE ACCUSED
     PRODUCTS

         In evaluating doctrine of equivalents, the only proper comparison is between the accused

products and the asserted claims. It is not proper to compare the accused products to, for example,

a preferred embodiment of the patent claim described in the specification or a commercialized

embodiment of the patent claim.46

         Janssen must prove the actual accused GE HyClone media powders infringe claims 1 and

2 of the ’083 patent. It is not sufficient to demonstrate that something that is not the accused media




46
   Zenith Labs., Inc. v. Bristol-Myers Squibb Co., 19 F.3d 1418, 1423 (Fed. Cir. 1994) (“The district court, instead of
requiring the comparison of the accused compound following conversion to be made with the lines specified in the
claim, allowed Bristol to make the comparison with the diffraction pattern exhibited by a sample (the reference pattern)
of a material considered by Bristol to be the patented compound. As we have repeatedly said, it is error for a court to
compare in its infringement analysis the accused product or process with the patentee’s commercial embodiment or
other version of the product or process; the only proper comparison is with the claims of the patent.”); Stevenson v.
Doyle Sailmakers, Inc., No. 87-892, 1992 WL 34693, at *1 (D. Mass. Feb. 18, 1992) (Wolf, J.) (“In order to apply the
doctrine of equivalents, comparison is made between the accused device and the properly construed claims of
plaintiff’s patent, not with a preferred embodiment described in the specification or with a commercialized
embodiment.” (citing SRI Int’l v. Matsushita Elec. Corp. of Am., 775 F.2d 1107, 1121 (Fed. Cir. 1985).); SRI Int’l v.
Matsushita Elec. Corp. of Am., 775 F.2d 1107, 1121 (Fed. Cir. 1985) (“Infringement, literal or by equivalence, is
determined by comparing an accused product not with a preferred embodiment described in the specification, or with
a commercialized embodiment of the patentee, but with the properly and previously construed claims in suit.”); Insta-
Foam Prod., Inc. v. Universal Foam Sys., Inc., 906 F.2d 698, 702 (Fed. Cir. 1990) (“[i]t is the limitations and functions
of the invention described in the claims, not the elements or functions of the accused device, which establish the
reference point for the doctrine of equivalents analysis.”).



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powders would infringe the claims.47 It also is not sufficient to demonstrate that the accused media

powders are equivalent to something that is not one of the asserted patent claims.48




47
   See id.; Izumi Prods. Co. v. Koninklijke Philips Elec. N.V., 315 F. Supp. 2d 589, 602 (Sept. 30, 2010 N.D.Ill) (“Dr.
Benedict reviewed the grooved inner cutter found on only two accused infringing electric rotary razors . . . in
formulating his turbulence theory. He did not consider the grooved inner cutters on any of the other 114 accused
infringing electric rotary razors. While the court acknowledges that turbulence is a well established engineering
principle in the area of fluid dynamics, the court finds that Dr. Benedict essentially applied this theory to explain the
function of the accused infringing electric rotary razors based solely on his subjective belief. He did not perform any
testing on any of the accused infringing electric rotary razors or, for that matter, on an electric rotary razor
manufactured by Izumi to validate his theory.” (internal citations omitted)); Yoon Ja Kim v. ConAgra Foods, Inc., 465
F.3d 1312, 1320 (Fed. Cir. 2006) (“While Kim, who was qualified as an expert, offered conclusory testimony that the
additional ingredients would not have materially affected the pertinent characteristics of the bread, Kim did not support
this determination with any examinations or tests of the actual accused products. Under the circumstances of this case,
we agree with the district court that Kim did not prove infringement because she presented no testimony based on the
accused products themselves that supported a finding of infringement.”); Lupin Ltd. v. Abbott Labs., 491 F. Supp. 2d
563, 569 (E.D. Va. 2007) (holding that expert’s theoretical discussion in summary judgment declaration, which
compared abstract hydrated forms of crystalline drug that might have shared characteristics with accused product, was
not sufficient to allow reasonable jury to conclude accused product infringed patent claim under doctrine of
equivalents); Lakim Indus., Inc. v. Linzer Prod. Corp., No. CV12-04976-ODW(JEMX), 2013 WL 11323597, at *5
(C.D. Cal. Jan. 24, 2013) (“Conducting an infringement analysis from this physically altered accused product would
lead to an absurd result. The Court cannot permit Quali-Tech to physically alter Linzer’s commercial product in an
attempt to create an outer cylinder from the remaining core of the disassembled paint roller.”); Abbott Labs. v. Baxter
Healthcare Corp., No. 04 C 836, 2010 WL 3894427, at *3 (N.D. Ill. Sept. 30, 2010) (“Drs. Lessor and Rogers’
testimony was not sufficiently based on an analysis of Baxter’s insoluble epoxyphenolic liner itself.”); High Tech
Med. Instrumentation, Inc. v. New Image Indus., Inc., 49 F.3d 1551, 1556 (Fed. Cir. 1995) (“The fact that it is possible
to alter the AcuCam so that the camera becomes ‘rotatably coupled’ to its housing is not enough, by itself, to justify a
finding that the manufacture and sale of the AcuCam infringe HTMI’s patent rights.”); Phillips v. Am. Honda Motor
Co., 238 F. App’x 537, 540-42 (11th Cir. 2007) (“[The expert] obtained his temperature readings from a plastic dummy
reinforced with metal bars rather than from a human being. We recognize he may have had valid safety reasons for
using a dummy instead of a human. But Burleson produced no data showing that the conductive and heat-retentive
properties of the dummy’s foot were similar to those of a human foot. Nor did he show a reliable way to extrapolate
from the temperature readings on the dummy’s foot to the comparable temperatures on a human foot. As a result,
Burleson provided no reliable link between his data and the facts at issue in the case: the temperature Plaintiff’s feet
experienced while riding the Honda ATV and the temperature his feet would have experienced had he been riding the
Arctic Cat ATV.”).

48
    Id.; see also Zenith Labs., Inc. v. Bristol-Myers Squibb Co., 19 F.3d 1418, 1423 (Fed. Cir. 1994) (“The district
court, instead of requiring the comparison of the accused compound following conversion to be made with the lines
specified in the claim, allowed Bristol to make the comparison with the diffraction pattern exhibited by a sample (the
reference pattern) of a material considered by Bristol to be the patented compound. As we have repeatedly said, it is
error for a court to compare in its infringement analysis the accused product or process with the patentee’s commercial
embodiment or other version of the product or process; the only proper comparison is with the claims of the patent.”);
Stevenson v. Doyle Sailmakers, Inc., No. 87-892, 1992 WL 34693, at *1 (D. Mass. Feb. 18, 1992) (Wolf, J.) (“In order
to apply the doctrine of equivalents, comparison is made between the accused device and the properly construed claims
of plaintiff’s patent, not with a preferred embodiment described in the specification or with a commercialized
embodiment.” (citing SRI Int’l v. Matsushita Elec. Corp. of Am., 775 F.2d 1107, 1121 (Fed. Cir. 1985).); SRI Int’l v.
Matsushita Elec. Corp. of Am., 775 F.2d 1107, 1121 (Fed. Cir. 1985) (“Infringement, literal or by equivalence, is
determined by comparing an accused product not with a preferred embodiment described in the specification, or with
a commercialized embodiment of the patentee, but with the properly and previously construed claims in suit.”); Insta-
Foam Prod., Inc. v. Universal Foam Sys., Inc., 906 F.2d 698, 702 (Fed. Cir. 1990) (“[i]t is the limitations and functions


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            As I noted, the accused products in this case are two media powders made by GE HyClone

in Utah and shipped to Celltrion in South Korea. You may not consider how the powder is used

outside the United States or what is done to the powder outside the United States in determining

whether the accused products infringe the ’083 patent.49 Any modifications to the powders made

in South Korea, anything done with the powders in South Korea, and any products made using the

powders in South Korea are not the subject of this action and you should not consider them.50




of the invention described in the claims, not the elements or functions of the accused device, which establish the
reference point for the doctrine of equivalents analysis.”).
49
   Microsoft Corp. v. AT&T Corp., 550 U.S. 437, 439 (2007) (“[F]oreign law alone, not United States law, currently
governs the manufacture and sale of components of patented inventions in foreign countries. If AT & T desires to
prevent copying in foreign countries, its remedy today lies in obtaining and enforcing foreign patents.”); Power
Integrations v. Fairchild Semiconductor Int’l., 711 F.3d 1348, 1371-72 (Fed. Cir. 2013) (“It is axiomatic that U.S.
patent law does not operate extraterritorially to prohibit infringement abroad.”; “[F]oreign exploitation of a patented
invention [] is not infringement at all.”; “Regardless of how the argument is framed under the facts of this case, the
underlying question here remains whether Power Integrations is entitled to compensatory damages for injury caused
by infringing activity that occurred outside the territory of the United States. The answer is no.”; “The entirely
extraterritorial production, use, or sale of an invention patented in the United States is an independent, intervening act
that, under almost all circumstances, cuts off the chain of causation initiated by an act of domestic infringement.”).
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     Id.



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                      INFRINGEMENT BY SUPPLY OF ALL OR A
     SUBSTANTIAL PORTION OF THE COMPONENTS OF A PATENTED
     INVENTION TO ANOTHER COUNTRY (§271(F)(1))51

        Janssen also asserts that Celltrion and Hospira infringed the ’083 patent by causing to be

supplied all or a substantial portion of the components of listed in claim 1 of the ’083 patent from

the United States to Singapore and actively induce the combination of those components into a

product that would infringe the ’083 patent if it had been assembled in the United States.

        To show infringement under Section 271(f)(1), Janssen must prove that each of the

following is more likely than not:


        1.       The GE HyClone media powders, as they were intended to be assembled outside
                 the United States, would have included all elements of at least claim 1 of the ’083
                 patent;

        2.       That Celltrion and Hospira caused to be supplied components from the United
                 States that made up all or a substantial portion of the invention of at least claim 1
                 of the ’083 patent; and

        3.       That Celltrion and Hospira specifically intended to induce the combination of the
                 components into a product that would infringe the ’083 patent if the components
                 had been combined in the United States, knowing that such a combination would
                 infringe the ’083 patent.

        A substantial portion of components requires a quantitative, not a qualitative, assessment.

The export of a single component of a multi-component invention cannot create liability under

§ 271(f)(1).

        In order to establish that Celltrion or Hospira “supplied, or caused to be supplied,”

components, it is not sufficient that GE HyClone exported components in response to an order.

Rather, you must find that the accused infringer, here Celltrion or Hospira, physically exported the



51
  Based on AIPLA Model Patent Jury Instruction 3.11; Model Patent Jury Instructions, Fed. Circuit Bar Ass’n,
Instr. B.3.4 (July 2016); Microsoft Corp. v. AT & T Corp., 550 U.S. 437 (2007); WesternGeco L.L.C. v. ION
Geophysical Corp., 791 F.3d 1340 (Fed. Cir. 2015), cert. granted, judgment vacated on other grounds, 136 S. Ct.
2486 (2016); Pellegrini v. Analog Devices, Inc., 375 F.3d 1113 (Fed. Cir. 2004).


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components from the U.S. or Celltrion and/or Hospira controlled that physical act of exportation.

In order to find that GE HyClone was acting as Celltrion or Hospira’s agent for the exportation of

components, you must find that Celltrion or Hospira directed or controlled the physical act of

exportation by GE HyClone.

       In order to establish active inducement of infringement under § 271(f)(1), it is not sufficient

that GE HyClone itself allegedly directly infringes the claim. Nor is it sufficient that Celltrion and

Hospira were aware of the act(s) that allegedly constitute the direct infringement. Rather, you must

find that Celltrion and Hospira specifically intended for GE HyClone to infringe the ’083 patent,

in order to find inducement of infringement under § 271(f)(1). If you do not find that Celltrion and

Hospira specifically intended to infringe, then you must find that Celltrion and Hospira have not

actively induced the alleged infringement under § 271(f)(1).

       If you find that Celltrion was aware of the patent, but believed that the acts it encouraged

would not constitute infringement of the patent if carried out in the United States, Celltrion cannot

be liable for inducement under § 271(f)(1).

       Likewise, if you find that Hospira was aware of the patent, but believed that the acts it

encouraged would not constitute infringement of the patent if carried out in the United States,

Hospira cannot be liable for inducement under § 271(f)(1).




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                                   DIVIDED INFRINGEMENT52

        [This instruction should only be given where the patentee alleges direct infringement of a

method claim by the combined acts of multiple persons or companies. Defendants do not agree

this instruction should be given at all, as stated in Defendants’ motion for summary judgment.]

        Divided infringement describes the situation in which more than one actor is involved in

practicing the steps of a claimed method. Only method claims can raise an issue of divided

infringement.




52
   Rearden LLC v. Walt Disney Co., 293 F. Supp. 3d 963, 972 (N.D. Cal. 2018) (“Divided infringement describes a
situation in which more than one actor is involved in practicing the steps of the claimed method.”); Akamai Techs.,
Inc v. Limelight Networks, Inc., 786 F.3d 899, 910 (Fed. Cir.), on reh'g en banc sub nom. Akamai Techs., Inc. v.
Limelight Networks, Inc., 797 F.3d 1020 (Fed. Cir. 2015), and reh'g en banc granted, opinion vacated sub nom.
Akamai Techs., Inc. v. Limelight Networks, Inc., 612 F. App'x 617 (Fed. Cir. 2015) (“only method claims can raise an
issue of divided infringement”).



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                        DIRECT INFRINGEMENT: ACTS OF MULTIPLE
       PARTIES COMBINED TO MEET ALL CLAIM LIMITATIONS53

           [This instruction should only be given where the patentee alleges direct infringement of a

method claim by the combined acts of multiple persons or companies. Defendants do not agree

this instruction should be given at all, as stated in Defendants’ motion for summary judgment.]

           The following instruction only applies in cases where there is divided infringement of a

method claim. Direct infringement occurs where all steps of a claimed method are performed by

or are attributable to a single party. Where more than one party is involved in practicing the steps,

you must determine whether the acts of one are attributable to the other such that a single party is

responsible for the infringement. There are two situations where there may be direct infringement

if no single party performs all of the steps of a claimed process but more than one party performs

every step of the process: (1) the parties have formed a joint enterprise or (2) one party directs or

controls other party’s performance of the claim steps.

           The patent holder alleges that alleged infringer A and alleged infringer B, collectively

infringe the claims of a method patent.

           To prove infringement through the acts of multiple parties, the patent holder must prove

by a preponderance of the evidence (1) that all the steps of a claimed process were performed in

the United States and (2) that the acts of alleged infringer B are attributable to alleged infringer A,

either because alleged infringer A and alleged infringer B have formed a joint enterprise or because

alleged infringer A directs or controls the acts of alleged infringer B.

           To prove that alleged infringer A and alleged infringer B have formed a joint enterprise,

the patent holder must prove four elements:


53
     Based on Model Patent Jury Instructions, Fed. Circuit Bar Ass’n, Instr. B.3.7 (July 2016); 35 U.S.C. § 271(a);
       Limelight Networks, Inc. v. Akamai Technologies, Inc., 797 F.3d 1020, 1022- 24 (Fed. Cir. 2015) (en banc).



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               (1)     there was an agreement, either express or implied, between alleged infringer

                       A and alleged infringer B;

               (2)     they shared a common purpose;

               (3)     each had a financial interest in that purpose; and

               (4)     each had an equal right of control in the enterprise.

       To prove that alleged infringer A directed or controlled the acts of alleged infringer B,

Janssen must prove that alleged infringer B performed the claim step(s) in order to receive a benefit

from alleged infringer A and that alleged infringer A established how or when the claim step(s)

were performed.

       To be liable under these theories, each alleged infringer must have performed at least one

step of the method claim. You may only find liability under these theories for method claims of a

patent. The ’083 patent has no method claims and Janssen does not accuse Defendants of infringing

any method claims.

       Further, liability under these theories is limited to direct infringement under 35 U.S.C. §

271(a). You may not find liability under these theories for indirect infringement, such as

inducement, under 35 U.S.C. § 271(b), (c), or (f).




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                                     VICARIOUS LIABILITY

         Celltrion and Hospira do not directly infringe the ’083 patent. Janssen alleges that GE

HyClone directly infringes the ’083 patent, and that Celltrion and Hospira are legally responsible

for GE HyClone’s alleged infringement. If you find that GE HyClone does not infringe, there is

no reason to consider other infringement issues presented to you, including whether or not

Celltrion or Hospira are legally responsible for GE HyClone. However, if you find that GE

HyClone does directly infringe the ’083 patent, then you must also consider whether Celltrion or

Hospira are legally responsible for GE HyClone’s alleged infringement. I will now instruct you

on what legal responsibility requires.

         Janssen alleges that Celltrion is liable for GE HyClone’s alleged direct infringement under

a theory of vicarious liability. In order for GE HyClone’s actions to be attributable to Celltrion,

Janssen must prove by a preponderance of the evidence that GE HyClone was acting as Celltrion’s

agent when GE HyClone conducted the activities alleged to infringe the ’083 patent.54

         The mere purchase of a product does not make the seller the buyer’s agent.55 Some aspect

of direction and control is not enough, either. Instead, agency is a fiduciary relationship that arises


54
   Cross Med. Prod. v. Medtronic Sofamor Danek, 424 F.3d 1293, 1311 (Fed. Cir. 2005) (“In support of its argument
that Medtronic directly infringes, Cross Medical cites evidence that Medtronic’s representatives appear in the
operating room, identify instruments used by surgeons, and thus in effect ‘join’ the anchor seat to the bone. Cross
Medical argues that the situation is analogous to those in which courts have found a party to directly infringe a method
claim when a step of the claim is performed at the direction of, but not by, that party. See, e.g., Shields v. Halliburton
Co., 493 F.Supp. 1376, 1389 (W.D. La. 1980). However, if anyone makes the claimed apparatus, it is the surgeons,
who are, as far as we can tell, not agents of Medtronic. Because Medtronic does not itself make an apparatus with the
‘interface’ portion in contact with bone, Medtronic does not directly infringe.”); Centillion Data Sys. v. Qwest
Commc’ns., 631 F.3d 1279, 1287 (Fed. Cir. 2011) (“In Cross Medical, we considered the issue of vicarious liability
for making a claimed apparatus or system under § 271(a). The claim related to a medical device and, as properly
construed, required contact between the device and human bone. 424 F.3d at 1310–11. In the particular facts of that
case, the accused manufacturer created the accused product, but did not perform surgeries to bring the device into
contact with bone. We held that the manufacturer did not “make” the claimed apparatus. We held that if anyone made
the claimed apparatus, it was the surgeon who implanted the accused device, possibly bringing it into contact with
bone. Id. at 1311. We noted that the manufacturer would not be liable for the surgeon’s direct infringement unless the
surgeon acted as an agent of the manufacturer. Id.”).
55
 Joao Control & Monitoring Sys. of Cal. v. Sling Media, No. C-11-6277 EMC, 2012 WL 3249510, at *7 (N.D. Cal.
Aug. 7, 2012) (“To allow a vicarious liability claim based solely on a customer relationship[] . . . would run afoul of


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when one person (a “principal”) manifests assent to another person (an “agent”) that the agent shall

act on the principal’s behalf and subject to the principal’s control, and the agent manifests assent

or otherwise consents so to act.56 The formation of an agency relationship requires the consent of

both parties.57 Specifically, agency requires that (1) the principal manifested intent to grant

authority to the agent, and (2) the agent agreed or consented to the agency relationship.58 If two

parties disavow an agency relationship relating to the creation of the allegedly infringing media

powders, you should not find that one exists.59




the Federal Circuit’s warning in BMC that ‘expanding the rules governing direct infringement to reach independent
conduct of multiple actors would subvert the statutory scheme for indirect infringement.’”); see also BMC Res., Inc.
v. Paymentech, L.P., 498 F.3d 1373, 1381 (Fed. Cir. 2007) (“expanding the rules governing direct infringement to
reach independent conduct of multiple actors would subvert the statutory scheme for indirect infringement”).

56
  Restatement (Third) of Agency § 1.01 (2006) (“Agency is the fiduciary relationship that arises when one person (a
‘principal’) manifests assent to another person (an ‘agent’) that the agent shall act on the principal’s behalf and subject
to the principal’s control, and the agent manifests assent or otherwise consents so to act.”).
57
  Ericsson v. D-Link Sys., 773 F.3d 1201, 1236 (Fed. Cir. 2014) (Agency requires “(1) the principal manifested intent
to grant authority to the agent, and (2) the agent agreed or consented to the agency relationship.”); All Boys Music v.
DeGroot, No. 89 CIV. 8258 (LMM), 1992 WL 51502, at *12 (S.D.N.Y. Mar. 9, 1992) (“It is axiomatic…that the
formation of an agency relationship requires the consent of both parties thereto.”); Tellium v. Corning, No. 03 CIV.
8487 (NRB), 2004 WL 307238, at *6 (S.D.N.Y. Feb. 13, 2004) (“Where an agreement specifically precludes the
creation of an agency relationship, courts will not create one.”); Butto v. Collecto, 802 F. Supp. 2d 443, 449 (E.D.N.Y.
2011) (“Given Collecto’s express disavowal of an agency relationship with either wireless provider—including an
express disavowal of the wireless providers’ control over Collecto’s operations—it is difficult to find that Collecto
was an agent of either.”).

58
     Id.
59
     Id.



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                                      ACTIVE INDUCEMENT60

           Janssen alternately alleges that Celltrion and Hospira are each liable for infringement by

actively inducing GE HyClone to directly infringe the ’083 patent under the doctrine of

equivalents. As with direct infringement, you must determine whether there has been active

inducement on a claim-by-claim basis, meaning one patent claim at a time, and on a party-by-party

basis.

           Celltrion or Hospira is liable for active inducement of a claim of the ’083 patent only if

Janssen proves by a preponderance of the evidence:

                    (1)      the accused GE HyClone media powders directly infringe the ’083 patent

                    under the doctrine of equivalents;

                    (2)      Celltrion or Hospira took active and affirmative steps during the time the

                    ’083 patent was in force with the specific intent to cause the infringing acts by GE

                    HyClone; and

                    (3)      at the time Celltrion or Hospira took active and affirmative steps with

                    specific intent to cause the infringing acts by GE HyClone, Celltrion or Hospira

                    was aware of the ’083 patent and knew that the acts, if taken, would constitute

                    infringement of the ’083 patent, or that Celltrion or Hospira believed there was a

                    high probability that the acts by GE HyClone infringed the ’083 patent and took

                    deliberate steps to avoid learning of that infringement.61




60
     Based on Model Patent Jury Instructions, Fed. Circuit Bar Ass’n, Instr. B.3.2 (July 2016).
61
   Defendants do not believe that Janssen can prove willful blindness as a matter of law. Defendants offer an
instruction on willful blindness only in the event the Court believes a willful blindness instruction is appropriate.



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You must consider each defendant individually when assessing whether Celltrion or Hospira is

liable for active inducement.

         In order to establish active inducement of infringement, it is not sufficient for you to find

that GE HyClone itself directly infringes a claim of the ’083 patent. It is not sufficient that

Celltrion or Hospira was aware of only the acts by GE HyClone that are alleged to constitute or

result in the direct infringement. Rather, in order to find active inducement of infringement, you

must find that Celltrion or Hospira knowingly and specifically intended GE HyClone to infringe

the ’083 patent and took affirmative steps that caused that infringement by GE HyClone.

         Knowledge of the ’083 patent is not enough to prove active inducement of infringement.62

And there is no requirement that Celltrion or Hospira investigate any allegation of infringement.63

It also is not sufficient for you to find that Celltrion or Hospira knew there was a substantial risk



62
  Commil USA, LLC v. Cisco Sys., Inc., 135 S. Ct. 1920, 1926, 1928 (2015) (inducement liability “requires knowledge
of the patent in suit and knowledge of patent infringement” and “proof the defendant knew the acts were infringing”);
Glob.-Tech Appliances, Inc. v. SEB S.A., 563 U.S. 754, 765 (2011) (inducement “requires knowledge of the existence
of the patent that is infringed”); Allvoice Dev. U.S., LLC v. Microsoft Corp., 988 F. Supp. 2d 1248, 1263 (W.D. Wash.
2013), aff’d sub nom. Allvoice Dev. US, LLC v. Microsoft Corp., 612 F. App’x 1009 (Fed. Cir. 2015) (finding no
inducement because the patent holder only provided evidence of awareness of the patent).
63
   Glob.-Tech Appliances, Inc. v. SEB S.A., 563 U.S. 754, 769–70 (2011) (“We think these requirements give willful
blindness an appropriately limited scope that surpasses recklessness and negligence. Under this formulation, a
willfully blind defendant is one who takes deliberate actions to avoid confirming a high probability of wrongdoing
and who can almost be said to have actually known the critical facts. See G. Williams, Criminal Law § 57, p. 159 (2d
ed. 1961) (‘A court can properly find wilful blindness only where it can almost be said that the defendant actually
knew’). By contrast, a reckless defendant is one who merely knows of a substantial and unjustified risk of such
wrongdoing, see ALI, Model Penal Code § 2.02(2)(c) (1985), and a negligent defendant is one who should have known
of a similar risk but, in fact, did not, see § 2.02(2)(d).The test applied by the Federal Circuit in this case departs from
the proper willful blindness standard in two important respects. First, it permits a finding of knowledge when there is
merely a “known risk” that the induced acts are infringing. Second, in demanding only ‘deliberate indifference’ to that
risk, the Federal Circuit’s test does not require active efforts by an inducer to avoid knowing about the infringing
nature of the activities.”); Largan Precision Co, Ltd v. Genius Elec. Optical Co., Ltd., 86 F. Supp. 3d 1105, 1120
(N.D. Cal. 2015)5 (“Willful blindness requires not just a failure to ask whether any sales infringed, but an affirmative
act to remain ignorant of infringing sales.”); Apeldyn Corp. v. AU Optronics Corp., 831 F. Supp. 2d 817, 831 (D. Del.
2011), aff’d, 522 F. App’x 912 (Fed. Cir. 2013) (finding that the fact that defendant never looked for patents in the
relevant area “fall[s] short of willful blindness as articulated by the Global–Tech Court”); Largan Precision Co., Ltd.
v. Genius Elec. Optical Co., Ltd., No. 13-02502, 2015 WL 2063988, at *4 (N.D. Cal. May 4, 2015), aff’d, 646 F.
App’x 946 (Fed. Cir. 2016) (there is no “affirmative duty to investigate all potential bases for infringement after
receiving notice, no matter how difficult it may be to do so.”).



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that GE HyClone’s acts infringed the ’083 patent. In other words, mere knowledge that GE

HyClone’s acts might infringe the ’083 patent is not enough for Janssen to prove active inducement

of infringement. Rather, a finding of induced infringement requires proof that the defendant

actually knew that GE HyClone’s acts were in fact infringing or that Celltrion or HyClone believed

there was a high probability that GE HyClone would infringe the ’083 patent, but deliberately

avoided learning the infringing nature of GE HyClone’s acts.64

         A good faith belief that the ’083 patent was not infringed by GE HyClone is relevant

evidence that tends to show that Celltrion and Hospira lacked the intent required to be held liable

for induced infringement.65 If you find that Celltrion or Hospira was aware of the ’083 patent, but


64
   Takeda Pharm. U.S.A., v. W.-Ward Pharm., 785 F.3d 625, 631 (Fed. Cir. 2015) (“[I]t is well-established that ‘mere
knowledge of possible infringement by others does not amount to inducement; specific intent and action to induce
infringement must be proven.’”); Global-Tech Appliances, Inc. v. SEB S.A., 563 U.S. 754, 769–70 (2011) (“While the
Courts of Appeals articulate the doctrine of willful blindness in slightly different ways, all appear to agree on two
basic requirements: (1) the defendant must subjectively believe that there is a high probability that a fact exists and
(2) the defendant must take deliberate actions to avoid learning of that fact. We think these requirements give willful
blindness an appropriately limited scope that surpasses recklessness and negligence. Under this formulation, a
willfully blind defendant is one who takes deliberate actions to avoid confirming a high probability of wrongdoing
and who can almost be said to have actually known the critical facts. See G. Williams, Criminal Law § 57, p. 159 (2d
ed. *770 1961) (‘A court can properly find wilful blindness only where it can almost be said that the defendant
actually knew’). By contrast, a reckless defendant is one who merely knows of a substantial and unjustified risk of
such wrongdoing, see ALI, Model Penal Code § 2.02(2)(c) (1985), and a negligent defendant is one who should have
known of a similar risk but, in fact, did not, see § 2.02(2)(d).The test applied by the Federal Circuit in this case departs
from the proper willful blindness standard in two important respects. First, it permits a finding of knowledge when
there is merely a ‘known risk’ that the induced acts are infringing. Second, in demanding only ‘deliberate indifference’
to that risk, the Federal Circuit's test does not require active efforts by an inducer to avoid knowing about the infringing
nature of the activities.”); Largan Precision Co, Ltd v. Genius Elec. Optical Co., Ltd., 86 F. Supp. 3d 1105, 1120
(N.D. Cal. 2015) (“Willful blindness requires not just a failure to ask whether any sales infringed, but an affirmative
act to remain ignorant of infringing sales.”); Apeldyn Corp. v. AU Optronics Corp., 831 F. Supp. 2d 817, 831 (D. Del.
2011), aff’d, 522 F. App’x 912 (Fed. Cir. 2013) (finding that the fact that defendant never looked for patents in the
relevant area “fall[s] short of willful blindness as articulated by the Global–Tech Court”); Largan Precision Co., Ltd.
v. Genius Elec. Optical Co., Ltd., No. 13-02502, 2015 WL 2063988, at *4 (N.D. Cal. May 4, 2015), aff’d, 646 F.
App’x 946 (Fed. Cir. 2016) (“there is no ‘affirmative duty to investigate all potential bases for infringement after
receiving notice, no matter how difficult it may be to do so.’”).
65
  Commil USA, LLC v. Cisco Sys., Inc., 135 S. Ct. 1920, 1928 (2015) (“And the Global–Tech rationale is sound.
Qualifying or limiting its holding, as the Government and Commil seek to do, would lead to the conclusion, both in
inducement and contributory infringement cases, that a person, or entity, could be liable even though he did not know
the acts were infringing. In other words, even if the defendant reads the patent’s claims differently from the plaintiff,
and that reading is reasonable, he would still be liable because he knew the acts might infringe. Global–Tech requires
more. It requires proof the defendant knew the acts were infringing. And the Court’s opinion was clear in rejecting
any lesser mental state as the standard.”); Koninklijke Philips N.V. v. Zoll Med. Corp., 656 F. App’x 504, 523 (Fed.
Cir. 2016) (“For the claims of the ’454 waveform patent and the ’905 waveform patent, we find that Zoll’s belief in


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believed in good faith that the acts it encouraged did not infringe that patent, Celltrion and Hospira

cannot be liable for inducement.66 If you find that Celltrion or Hospira read the claims of the ’083

patent and believed in good faith it did not infringe, and its reading of the ’083 patent claims was

reasonable, Celltrion and Hospira cannot be liable for inducement.67 As noted, Janssen must prove

Celltrion or Hospira took affirmative steps with the specific intent to cause the infringing acts by

GE HyClone at a time when the ’083 patent was in force.68 In other words, actions taken before

October 6, 2009—the day the ’083 patent issued—should not be considered in your analysis. The

mere purchase of a product is not active inducement.69 Also, a party cannot be liable for induced



non-infringement, based on its reasonable claim construction argument, does negate the knowledge requirement of
contributory infringement.”); Commil USA, LLC v. Cisco Sys., Inc., 720 F.3d 1361, 1367–68 (Fed. Cir. 2013), vacated
in part on other grounds, 135 S. Ct. 1920 (“Under our case law, it is clear that a good-faith belief of non-infringement
is relevant evidence that tends to show that an accused inducer lacked the intent required to be held liable for induced
infringement.”).

66
     Id.

67
     Id.
68
   Nat'l Presto Indus., Inc. v. W. Bend Co., 76 F.3d 1185, 1196 (Fed. Cir. 1996) (“[W]e hold that the general rule is
that inducement of infringement under § 271(b) does not lie when the acts of inducement occurred before there existed
a patent to be infringed.”); McRee v. Goldman, No. 11-CV-00991-LHK, 2012 WL 3745190, at *3 (N.D. Cal. Aug.
28, 2012) (“D. Goldman's financial contributions to the Stern Grove Canopy pre-date 2005, which is when Plaintiff
alleges Defendants first learned that the Stern Grove Canopy allegedly infringed the ′269 Patent. Thus, Plaintiff has
not pled that D. Goldman provided funding to the Stern Grove Canopy project with the specific intent to induce an
infringing act. Moreover, although Plaintiff alleges that Defendants first learned of his ‘ ′269 Patent inventions as early
as 1994,’ SAC ¶ 42, the ′269 Patent did not even issue until December 21, 1999. ‘[A]s a matter of law § 271(b) does
not reach actions taken before issuance of the adverse patent.’”); Micro Chem., Inc. v. Great Plains Chem. Co., 194
F.3d 1250, 1261 (Fed. Cir. 1999) (“Pre-issuance activities alone cannot establish inducement to infringe.”).

69
   Keplinger v. De Young, 23 U.S. 358, 365 (1825) (“If this contract was real, and not colourable, which is the obvious
meaning of the instruction, and the defendant had no other connexion with H. & K. in regard to these chains than what
grew out of it, it would, in the opinion of the Court, be an extravagant construction of the patent law, to pronounce
that it amounted to a breach of the plaintiff’s patent right, by fixing upon the defendant the charge of having used the
plaintiff’s machine. Such a construction would be highly inconvenient and unjust to the rest of the community, since
it might subject any man who might innocently contract with a manufacturer to purchase all the articles which he
might be able to make within a limited period, to the heavy penalty inflicted by the act, although he might have been
ignorant of the plaintiff’s patent, or that a violation of it would be the necessary consequence of the contract.”);
epicRealm, Licensing, LLC v. Autoflex Leasing, Inc., 492 F. Supp. 2d 608, 637 (E.D. Tex. 2007) (“In Keplinger, the
Supreme Court considered whether a watch manufacturer was liable for inducing infringement by entering into an
output contract to purchase all the watch chains made by a third-party chain maker who produced them on an infringing
machine. Id. at 362–67. The watch maker knew which machine the chain maker would use and knew that the machine
infringed the plaintiff’s patent. Id. at 362. The contract, however, did not require the watch chains to be made on any
particular machine but, instead, left that choice open to the chain maker. Id. at 364–65. The Court held that the


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infringement if it does not successfully communicate with the alleged direct infringer and induce

them to commit the allegedly infringing acts.70 In addition, the intent necessary to induce

infringement must be directed to the actions of the underlying alleged direct infringer.71




contractual relationship could not support indirect liability of the watch maker for the chain maker’s infringement. Id.
at 365.”); Amgen, Inc. v. Elanex Pharm., Inc., No. C93-1483D, 1996 WL 84590, at *6 (W.D. Wash. Feb. 6, 1996)
(“Here, as Merckle argues, its actions show a lack of specific intent to induce infringement. Prior to negotiating its
distribution agreement with Merckle, Elanex had obtained its technology, had filed for various patent application, and
had developed a plan to commercialize and market its EPO. Elanex solicited Merckle to market EPO in three countries
in Europe. The contract provided that the EPO supplied would be manufactured in Germany by an independent
supplier. Under its agreement with Merckle, Elanex retained control over the technology, production of EPO, and its
contract supplier. Under these circumstances, summary judgment in favor of Merckle is granted.”); Gammino v. Cellco
P’ship, 527 F. Supp. 2d 395, 399 (E.D. Pa. 2007), dismissed sub nom. Gammino v. Davel Commc’ns, Inc., 363 F.
App’x 739 (Fed. Cir. 2009) (“Gammino argues, however, that once it informed Davel of his patents in March 2003,
Davel then possessed the requisite intent. But informing Davel of the patents did not impose on Davel a duty to inquire
after the local providers’ methods; it merely put Davel on notice that Gammino’s patent existed. ‘[M]ere knowledge
of possible infringement by others does not amount to inducement; specific intent and action to induce infringement
must be proven.’ Warner–Lambert Co. v. Apotex Corp., 316 F.3d 1348, 1364 (Fed.Cir.2003). Even recognizing that
direct evidence of intent is generally not available, id. at 1363, nothing in this record suggests that Davel specifically
intended for the local providers to infringe Gammino’s patents. Rather, the evidence indicates that Davel merely
purchased call-blocking features in the normal course of trade and left it to the providers of those features to ensure
that their methods complied with the patent laws.”); Hughes Aircraft Co. v. Nat’l Semiconductor Corp., 857 F. Supp.
691, 700 (N.D. Cal. 1994) (“NSC and Fairchild’s evidence does nothing but prove the obvious proposition that General
Motors, as the parent company of Delco Electronics and Hughes, has extensive involvement and control over their
activities. However, none of the evidence which NSC and Fairchild have presented (1) gives any direct indication that
General Motors had any knowledge of the ’735 and ’984 patents; (2) knew whether its subsidiaries or suppliers used
processes which were in any way similar to those taught by these patents; (3) intended for its subsidiaries to infringe
the ’735 and ’984 patents; or (4) had any interest in how the products purchased from its suppliers were manufactured.
Accordingly, General Motors is entitled to summary judgment on NSC and Fairchild’s claim that it induced the
infringement of the ’735 and ’984 patents. Furthermore, because NSC and Fairchild have failed to raise a genuine
issue of material fact regarding whether Delco Electronics infringed the ’634 patent, see Section B.2 of this Order,
their argument that General Motors induced Delco Electronics to do so must also fail.”); Goodwall Const. Co. v. Beers
Const. Co., No. C79-1774A, 1981 WL 59408, at *5 (N.D. Ga. Sept. 24, 1981).

70
  Power Integrations v. Fairchild Semiconductor, No. 2015-1329, 2016 WL 7187430 at *19 (Fed. Cir. Dec. 12, 2016)
(“This instruction left the jury with the incorrect understanding that a party may be liable for induced infringement
even where it does not successfully communicate with and induce a third-party direct infringer. The Supreme Court
has explained that the term ‘induce’ as it is used in § 271(b) ‘means ‘[t]o lean on; to influence; to prevail on; to move
by persuasion.’ Each definition requires successful communication between the alleged inducer and the third-party
direct infringer.”).

71
  Eli Lilly & Co. v. v. Teva Parenteral Medicines, Inc., et al., No. 2015-2067, 2017 WL 117164 at *16 (Fed. Cir. Jan.
12, 2017) (“First, to be clear, the intent for inducement must be with respect to the actions of the underlying direct
infringer, here physicians.”).



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                                      INVALIDITY—BURDEN OF PROOF72

           The fact that the PTO grants a patent does not necessarily mean that any invention claimed

in the patent, in fact, deserves the protection of a patent. For example, the PTO may not have had

available to it all of the prior art that was presented to you, or the PTO could have made a mistake.

A person accused of infringement has the right to argue here in federal court that a claimed

invention in the patent is invalid because it does not meet the requirements for a patent. It is your

job to consider the evidence presented by the parties and determine independently whether or not

Defendants have proven that the patent is invalid.73

           I will now instruct you on the rules you must follow in deciding whether or not Defendants

have proven that claims 1 and 2 of the ’083 patent are invalid. To prove that any claim of a patent

is invalid, Defendants must persuade you by clear and convincing evidence, i.e., you must be left

with a clear conviction that the claim is invalid.

           It is important to remember that a patent must be interpreted the same way for determining

infringement and for determining invalidity.74




72
     Based on Model Patent Jury Instructions, Fed. Circuit Bar Ass’n, Instr. B.4.1 (July 2016).
73
     Based on Model Patent Jury Instructions, Fed. Circuit Bar Ass’n, Instr. A.1 (July 2016).
74
   Source Search Techs., LLC v. LendingTree, LLC, 588 F.3d 1063, 1075 (Fed. Cir. 2009) (“As this court has
repeatedly instructed in the past, ‘[i]t is axiomatic that claims are construed the same way for both invalidity and
infringement.’”); Amazon.com, Inc. v. Barnesandnoble.com, Inc., 239 F.3d 1343, 1351 (Fed. Cir. 2001) (“A claim
must be construed before determining its validity just as it is first construed before deciding infringement.”); C.R.
Bard, Inc. v. M3 Sys., Inc., 157 F.3d 1340, 1363 (Fed. Cir. 1998) (“Claims must be interpreted the same way for
determining infringement as was done to sustain their validity.”); Southwall Techs., Inc. v. Cardinal IG Co., 54 F.3d
1570, 1576 (Fed. Cir. 1995) (“Claims may not be construed one way in order to obtain their allowance and in a
different way against accused infringers.”); Beachcombers, Int’l, Inc. v. WildeWood Creative Prods., Inc., 31 F.3d
1154, 1163 (Fed. Cir. 1994) (“We have already interpreted the claims for purposes of assessing their validity. The
same claim interpretation of course applies to the infringement analysis.”).



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                                      PRIOR ART75

           Prior art may include items that were publicly known or that have been used or offered for

sale, or references, such as publications or patents, that disclose the claimed invention or elements

of the claimed invention. To be prior art, the item or reference must have been made, known, used,

published, or patented before October 29, 2004.

           Prior art includes the previously known subject matter in the field of a claimed invention

for which a patent is being sought. It includes issued patents, whether expired or unexpired,

publications, and knowledge deemed to be publicly available, such as trade skills, trade practices,

and the like.76 References do not need to have been known to Janssen, Celltrion, or Hospira, at

the time of the invention in order to qualify as prior art. Prior art can include patents and printed

publications from anywhere in the world.77




75
     Based on Model Patent Jury Instructions, Fed. Circuit Bar Ass’n, Instr. B.4.3a-1 (July 2016).
76
     Based on Model Patent Jury Instructions, Fed. Circuit Bar Ass’n, Instr. C, *78 (July 2016).
77
     35 U.S.C. §§ 102(a), (b).



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                                      OBVIOUSNESS INTRODUCTION78

           Even though an invention may not have been identically disclosed or described before it

was made by an inventor, in order to be patentable, the invention must also not have been obvious

to a person of ordinary skill in the field of technology of the patent at the time the invention was

made.

           Defendants may establish that a patent claim is invalid by showing, by clear and convincing

evidence, that the claimed invention would have been obvious to persons having ordinary skill in

the art in the field of cell culture media compositions at the time the invention was made.

           In determining whether a claimed invention is obvious, you must consider the level of

ordinary skill in the field of cell culture media compositions that someone would have had at the

time the invention was made, the scope and content of the prior art, and any differences between

the prior art and the claimed invention.




78
     Based on Model Patent Jury Instructions, Fed. Circuit Bar Ass’n, Instr. B.4.3c (July 2016).



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                                      LEVEL OF ORDINARY SKILL79

           In deciding what the level of ordinary skill in the field of cell culture media compositions

is, you should consider all the evidence introduced at trial, including but not limited to: (1) the

levels of education and experience of the inventors and other persons actively working in the field;

(2) the types of problems encountered in the field; (3) prior art solutions to those problems; (4) the

rapidity with which innovations are made; and (5) the sophistication of the technology.

           A person of ordinary skill in this art area would have a doctorate degree in biochemistry,

molecular biology, or a related field with one or two years of direct experience in formulation of

and use of cell culture media in the context of biopharmaceutical product production. A person of

ordinary skill in the art could also have fewer years of formal education if they held either a

bachelor’s or master’s degree in the same fields listed above but also had several years of hands-

on experience in academic or industrial laboratories in this area.

           The person of ordinary skill in the art is presumed to know all prior art that you have

determined to be reasonably relevant.80 The person of ordinary skill is also a person of ordinary

creativity that can use common sense to solve problems.81




79
     Based on Model Patent Jury Instructions, Fed. Circuit Bar Ass’n, Instr. B.4.3c(i) (July 2016).
80
   In re GPAC Inc., 57 F.3d 1573, 1579 (Fed. Cir. 1995) (“The person of ordinary skill in the art is a hypothetical
person who is presumed to know the relevant prior art.”); Componex Corp. v. Elecs. For Imaging, Inc., No. 13-CV-
384-WMC, 2014 WL 5361946, at *9 (W.D. Wis. Oct. 21, 2014) (“One skilled in the art is assumed to be “a person of
ordinary creativity” and “common sense,” familiar with the prior art and capable of researching accessible
resources.”); Teva Women’s Health, Inc. v. Lupin, Ltd., No. CIV.A. 10-603 PGS, 2012 WL 2523007, at *3 (D.N.J.
June 29, 2012), aff’d, 505 F. App’x 959 (Fed. Cir. 2013) (“The person of ordinary skill in the art is a hypothetical
person who is presumed to know the relevant prior art.”).
81
   KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 421 (2007) (“A person of ordinary skill is also a person of ordinary
creativity, not an automaton.”).



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                                       SCOPE AND CONTENT OF THE PRIOR ART82

           In considering whether the claimed invention was obvious, you must first determine the

scope and content of the prior art.

           The scope and content of prior art for deciding whether the invention was obvious includes

at least prior art in the same field as the claimed invention. It also includes prior art from different

fields that a person of ordinary skill in the art would have considered when trying to solve the

problem that is addressed by the invention.

           Where the party challenging the validity of the patent is relying on prior art that was not

considered by the PTO during examination of the patent, you may consider whether that prior art

is significantly different and more relevant than the prior art that the PTO did consider. If you

decide it was different and more relevant, you may weigh that prior art more heavily when

considering whether the challenger has carried its clear-and-convincing burden of proving

invalidity.




82
     Based on Model Patent Jury Instructions, Fed. Circuit Bar Ass’n, Instr. B.4.3c(ii) (July 2016).



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                                      OBVIOUSNESS ANALYSIS83

           As I noted, in determining whether a claimed invention is obvious, you must consider the

level of ordinary skill in the field of cell culture media compositions that someone would have had

at the time the invention was made, the scope and content of the prior art, and any differences

between the prior art and the claimed invention. The prior art reference (or references when

combined) need not teach or suggest all the claim limitations, for example the exact ingredients or

concentration ranges of those ingredients, if the differences between the prior art and the claimed

invention would have been obvious to a person of ordinary skill in the art.84 There is no

requirement that there be an explicit suggestion, teaching, or motivation to combine prior art

references.85 Instead, a motivation to combine references can come from a number of sources,




83
     Based on Model Patent Jury Instructions, Fed. Circuit Bar Ass’n, Instr. B.4.3c (July 2016).
84
   Examination Guidelines for Determining Obviousness Under 35 U.S.C. 103 in View of the Supreme Court Decision
in KSR International Co. v. Teleflex Inc., 72 FR 57526-01; KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 419 (2007)
(“The obviousness analysis cannot be confined by a formalistic conception of the words teaching, suggestion, and
motivation, or by overemphasis on the importance of published articles and the explicit content of issued patents. The
diversity of inventive pursuits and of modern technology counsels against limiting the analysis in this way. In many
fields it may be that there is little discussion of obvious techniques or combinations, and it often may be the case that
market demand, rather than scientific literature, will drive design trends. Granting patent protection to advances that
would occur in the ordinary course without real innovation retards progress and may, in the case of patents combining
previously known elements, deprive prior inventions of their value or utility.”).
85
  KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 419 (2007) (“Helpful insights, however, need not become rigid and
mandatory formulas; and when it is so applied, the TSM test is incompatible with our precedents. The obviousness
analysis cannot be confined by a formalistic conception of the words teaching, suggestion, and motivation, or by
overemphasis on the importance of published articles and the explicit content of issued patents. The diversity of
inventive pursuits and of modern technology counsels against limiting the analysis in this way. In many fields it may
be that there is little discussion of obvious techniques or combinations, and it often may be the case that market
demand, rather than scientific literature, will drive design trends. Granting patent protection to advances that would
occur in the ordinary course without real innovation retards progress and may, in the case of patents combining
previously known elements, deprive prior inventions of their value or utility.”); In re Kahn, 441 F.3d 977, 987 (Fed.
Cir. 2006) (“A suggestion, teaching, or motivation to combine the relevant prior art teachings does not have to be
found explicitly in the prior art.”); KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 415 (2007) (“Throughout this Court’s
engagement with the question of obviousness, our cases have set forth an expansive and flexible approach inconsistent
with the way the Court of Appeals applied its TSM test here.”); Id. at 415, 419 (“As our precedents make clear . . . ,
the analysis need not seek out precise teachings directed to the specific subject matter of the challenged claim, for a
court can take account of the inferences and creative steps that a person of ordinary skill in the art would employ.”);
see also Arrow Int’l., Inc. v. Spire Biomedical, Inc., 635 F. Supp. 2d 46, 70 n.24 (D. Mass. 2009).



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including, for example, the prior art, market demand, or ordinary creativity, keeping in mind that

the obviousness analysis is expansive and flexible.86

            The asserted claims of the ’083 patent are likely to be obvious if they are the result of

combining familiar elements according to known methods to yield predictable results.87 Indeed,

when a patent simply arranges old elements with each performing the same function it had been

known to perform and yields no more than one would expect from such an arrangement, the

combination is obvious.88 You may take into account such factors as (1) whether the claimed

invention was merely the predictable result of using prior art elements according to their known

function(s); (2) whether the claimed invention provides an obvious solution to a known problem

in the relevant field; (3) whether the prior art teaches or suggests the desirability of combining

elements claimed in the invention; (4) whether the prior art teaches away from combining elements

in the claimed invention; (5) whether it would have been obvious to try the combinations of

elements, such as when there is a design need or market pressure to solve a problem and there are

a finite number of identified, predictable solutions; (6) whether the change resulted more from

design incentives or other market forces; and (7) whether the changes are the result of routine

optimization or testing.89 To find the invention obvious, you must find that the prior art provided

a reasonable expectation of success.


86
     Id.
87
  KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 416 (2007) (“The combination of familiar elements according to known
methods is likely to be obvious when it does no more than yield predictable results.”); Tyco Healthcare Grp. LP v.
Ethicon Endo-Surgery, Inc., 774 F.3d 968, 977 (Fed. Cir. 2014) (“Claims would have been obvious if they are nothing
more than a combination of familiar elements that yield predictable results.”).

88
  KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 417 (2007) (“[T]he Court derived from the precedents the conclusion
that when a patent ‘simply arranges old elements with each performing the same function it had been known to
perform’ and yields no more than one would expect from such an arrangement, the combination is obvious.”).

89
   Pfizer, Inc. v. Apotex, Inc., 480 F.3d 1348, 1368–69 (Fed. Cir. 2007) (“We find this case analogous to the
optimization of a range or other variable within the claims that flows from the “normal desire of scientists or artisans
to improve upon what is already generally known.” In re Peterson, 315 F.3d 1325, 1330 (Fed.Cir.2003) (determining


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           As I mentioned, you may consider whether or not the prior art “teaches away” from the

claimed invention. A reference may be said to “teach away” when a person of ordinary skill, upon

reading the reference, would be discouraged from following the path set out in the reference, or

would be led in a direction divergent from the path that was taken by the patentee.90 The teaching

away inquiry does not focus on whether a person of ordinary skill in the art would have merely

favored one disclosed option over another disclosed option.91 In assessing whether prior art teaches

away, that better alternatives exist in the prior art does not mean that an inferior combination is




where in a disclosed set of percentage ranges the optimum combination of percentages lies is prima facie obvious). In
In re Aller, 42 C.C.P.A. 824, 220 F.2d 454, 456 (1955), our predecessor court set forth the rule that the discovery of
an optimum value of a variable in a known process is usually obvious. See also In re Boesch, 617 F.2d 272, 276
(C.C.P.A.1980) (“[D]iscovery of an optimum value of a result effective variable in a known process is ordinarily
within the skill of the art.”). Similarly, we hold that the optimization of the acid addition salt formulation for an active
pharmaceutical ingredient would have been obvious where as here the acid addition salt formulation has no effect on
the therapeutic effectiveness of the active ingredient and the prior art heavily suggests the particular anion used to
form the salt. Cf. In re Geisler, 116 F.3d 1465, 1470 (Fed.Cir.1997) (“‘[I]t is not inventive to discover the optimum
or workable ranges by routine experimentation.’” (quoting Aller, 220 F.2d at 456)); In re Kulling, 897 F.2d 1147,
1149 (Fed.Cir.1990) (finding no clear error in Board of Patent Appeals and Interferences’ conclusion that the amount
of eluent to be used in a washing sequence was a matter of routine optimization known in the pertinent prior art and
therefore obvious). Indeed, the logical line of testing was to react benzene sulphonate with amlodipine to confirm the
presence of a salt, and then to verify that the physicochemical properties of amlodipine besylate were adequate,
particularly the trait of sufficient non-stickiness. The experimentation needed, then, to arrive at the subject matter
claimed in the ′303 patent was “nothing more than routine” application of a well-known problem-solving strategy,
Merck, 874 F.2d at 809, and we conclude, “the work of a skilled [artisan], not of an inventor.” DyStar, 464 F.3d at
1371; see also In re Luck, 476 F.2d 650, 652–53 (C.C.P.A.1973) (use of routine testing to identify optimum amounts
of silane to be employed in a lamp coating, without establishing a critical upper limit or demonstrating any unexpected
result, lies within the ambit of the ordinary skill in the art); In re Esterhoy, 58 C.C.P.A. 1116, 440 F.2d 1386, 1389
(1971) (“One skilled in the art would thus manifestly operate the Switzer et al. process under conditions most desirable
for maximum and efficient concentration of the acid. The conditions recited in the claims appear to us to be only
optimum and easily ascertained by routine experimentation.”); In re Swentzel, 42 C.C.P.A. 757, 219 F.2d 216, 219
(1955) (“It may well be that the size represents the largest particles suitable for appellant’s purpose, but the
determination of that desired size under the present circumstances involves nothing more than routine experimentation
and exercise of the judgment of one skilled in the art.”); In re Swain, 33 C.C.P.A. 1266, 156 F.2d 246, 247–48 (1946)
(“In the absence of a proper showing of an unexpected and superior result over the disclosure of the prior art, no
invention is involved in a result obtained by experimentation.”).”).
90
     In re Gurley, 27 F.3d 551, 553 (Fed. Cir. 1994).
91
  Bayer Pharma AG v. Watson Labs., Inc., 874 F.3d 1316, 1328 (Fed. Cir. 2017) (“[T]he teaching away inquiry
does not focus on whether a person of ordinary skill in the art would have merely favored one disclosed option over
another disclosed option.”)



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inappropriate for obviousness purposes.92 A known or obvious composition does not become

patentable simply because it has been described as somewhat inferior to some other product for

the same use.93

         In determining whether the claimed invention was obvious, consider each claim separately.

Do not use hindsight. That is, consider only what was known at the time of the invention.




92
  Bayer Pharma AG v. Watson Labs., Inc., 874 F.3d 1316, 1328 (Fed. Cir. 2017) (“In assessing whether prior art
teaches away, that ‘better alternatives exist in the prior art does not mean that an inferior combination is inapt for
obviousness purposes.’ In re Mouttet, 686 F.3d 1322, 1334 (Fed. Cir. 2012).”)
93
  In re Gurley, 27 F.3d 551, 553 (Fed. Cir. 1994) (“A known or obvious composition does not become patentable
simply because it has been described as somewhat inferior to some other product for the same use.”)



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                                    PRIOR ART—OVERLAPPING RANGES

         For obviousness, it is not necessary for the prior art to disclose the same numerical range

as an asserted claim. Instead, you may find obviousness if the claimed numerical ranges overlap

with the ranges disclosed in the prior art.94 Where there is a range disclosed in the prior art, and

the claimed invention overlaps with that range, the burden of production falls on Janssen to come




94
   In re Peterson, 315 F.3d 1325, 1329 (Fed. Cir. 2003) (“A prima facie case of obviousness typically exists when
the ranges of a claimed composition overlap the ranges disclosed in the prior art.”); Ormco Corp. v. Align Tech., Inc.,
463 F.3d 1299, 1311 (Fed. Cir. 2006) (“Where a claimed range overlaps with a range disclosed in the prior art, there
is a presumption of obviousness.”); Ricoh Co. v. Quanta Computer Inc., 550 F.3d 1325, 1331 (Fed. Cir. 2008)
(“Because the range of recording speeds disclosed in the European patents overlaps the range claimed by the ′109
patent, the parties do not dispute that the claims of the ′109 patent are presumed obvious.”); In re Geisler, 116 F.3d
1465, 1469 (Fed. Cir. 1997) (“Geisler concedes that the examiner was correct to find the claims prima facie obvious,
because the claimed thickness range of 50 to 100 Angstroms for the protective layer overlaps at its end point with the
thickness range of 100 to 600 Angstroms disclosed by Zehender.”); Application of Malagari, 499 F.2d 1297, 1303
(C.C.P.A. 1974) (“There is no question that the claimed invention is rendered prima facie obvious by the teachings of
Goss. The process taught by Goss is similar to that claimed by appellant, and the claimed range of carbon in the steel
used as a starting material touches that in the ‘typical preferred range’ of the reference.”); In re Woodruff, 919 F.2d
1575, 1578 (Fed. Cir. 1990) (concluding that a claimed invention was rendered obvious by a prior art reference whose
disclosed range (“about 1–5%” carbon monoxide) abutted the claimed range (“more than 5% to about 25%” carbon
monoxide).



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forward with evidence showing their claimed range was not obvious.95 The prior art need not have

every claimed limitation or overlapping ranges in order to make a claimed invention obvious.96




95
   See Galderma Labs., L.P. v. Tolmar, Inc., 737 F.3d 731, 738 (Fed. Cir. 2013) (“[W]here there is a range disclosed
in the prior art, and the claimed invention falls within that range, the burden of production falls upon the patentee to
come forward with evidence that (1) the prior art taught away from the claimed invention; (2) there were new and
unexpected results relative to the prior art; or (3) there are other pertinent secondary considerations.”); see also Ineos
USA LLC v. Berry Plastics Corp., 783 F.3d 865, 870-72 (Fed. Cir. 2015) (affirming summary judgment of anticipation
based on overlapping ranges, noting “Ineos is also correct that when the prior art discloses a range, rather than a point,
the court must evaluate whether the patentee has established that the claimed range is critical to the operability of the
claimed invention.”); Ormco Corp. v. Align Tech., Inc., 463 F.3d 1299, 1311 (Fed. Cir. 2006) (“This interval
substantially overlaps with the interval specified in claim 17. [Patentee] has also failed to show that [the prior art]
teaches away from the claimed range or that the claimed range produces new and unexpected results. Under these
circumstances, [the patentee] has failed to rebut the presumption that the claimed range would have been obvious.”);
Ricoh Co. v. Quanta Computer Inc., 550 F.3d 1325, 1331 (Fed. Cir. 2008) (“This presumption, however, ‘can be
rebutted if it can be shown that the prior art teaches away from the claimed range, or the claimed range produces new
and unexpected results.’ Id. at 1311 (citations omitted). The district court rejected [patentee’s] expert testimony offered
to rebut the presumption, reasoning that ‘plaintiff ... fails to explain how the prior art ‘teaches away’ from its ’109
patent or how the ’109 patent provides ‘new and unexpected results.’’ Summary Judgment Order, 579 F.Supp.2d at
1115. We agree.”);In re Geisler, 116 F.3d 1465, 1469 (Fed. Cir. 1997) (“a prima facie case of obviousness can be
rebutted if the applicant (1) can establish “the existence of unexpected properties in the range claimed” or (2) can
show “that the art in any material respect taught away” from the claimed invention”); Application of Malagari, 499
F.2d 1297, 1303 (C.C.P.A. 1974) (“We agree with the solicitor that appellant has not rebutted this prima facie case by
establishing the existence of unexpected properties in the range claimed or by showing that the art in any material
respect taught away from the use of the carbon range claimed.”); In re Woodruff, 919 F.2d 1575, 1578 (Fed. Cir. 1990)
(“These cases have consistently held that in such a situation, the applicant must show that the particular range is
critical, generally by showing that the claimed range achieves unexpected results relative to the prior art range.”);
GHC v. Sienna Biopharm., Inc., No. 2017-1012 at *8 (Fed. Cir. May 4, 2018) (“Where a prior art patent discloses a
range of values, showing a claimed value falls within that range meets a party’s burden of establishing the narrower
claim would have been obvious where there is no reason to think the result would be unpredictable.”).
96
   In re Peterson, 315 F.3d 1325, 1329 (Fed. Cir. 2003) (“A prima facie case of obviousness exists when the claimed
range and the prior art range do not overlap but are close enough such that one skilled in the art would have expected
them to have the same properties.”); Titanium Metals Corp. of Am. v. Banner, 778 F.2d 775, 783 (Fed. Cir. 1985)
(finding prima facie obviousness where the “proportions are so close that prima facie one skilled in the art would have
expected them to have the same properties.”); In re Thorner, 923 F.2d 871 (Fed. Cir. 1990) (“The Board's finding that
the cited prior art did not disclose the particular amounts recited for the concentration of the peptide in combination
with the matrix, nor the dosage levels recited in claims 36 and 38, does not prevent a conclusion of prima facie
obviousness.”) (citing In re Rinehart, 531 F.2d 1048, 1051 (CCPA 1976) (“[a] prima facie case of obviousness is
established when the teachings from the prior art itself would appear to have suggested the claimed subject matter to
a person of ordinary skill in the art.); In re Lalu, 747 F.2d 703, 705 (Fed. Cir. 1984) (“In determining whether a case
of prima facie obviousness exists, it is necessary to ascertain whether the prior art teachings would appear to be
sufficient to one of ordinary skill in the art to suggest making the claimed substitution or other modification.”)); In re
Woodruff, 919 F.2d 1575, 1578 (Fed. Cir. 1990) (finding obviousness despite two differences between “the claimed
invention and the prior art”; “The law is replete with cases” finding obviousness where “the difference between the
claimed invention and the prior art is some range or other variable within the claims.”); Gardner v. TEC Sys., Inc.,
725 F.2d 1338, 1345, 1349-50 (Fed. Cir. 1984) (finding obviousness despite differences between the claimed invention
and the prior art because the “differences are such that the claimed invention as a whole would have been obvious to
one of ordinary skill in the art at the time the invention was made.”).



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                                     OBJECTIVE CONSIDERATIONS OF NON-
                           97
     OBVIOUSNESS

         In evaluating obviousness, you may take into account certain objective evidence

(sometimes called “secondary considerations”) that may shed light on the obviousness or not of

the claimed invention. In order for secondary considerations to be given any substantial weight,

there must be a nexus between the claimed invention and the secondary consideration.98

         Here, Janssen contends that a “long felt but unresolved need” supports a finding of non-

obviousness. To demonstrate a long-felt but unresolved need, Janssen must point to an identified

problem and evidence of efforts to solve that problem which were, before the invention,

unsuccessful.99 Likewise, Janssen must show a nexus between the claimed features of the invention




97
   Janssen has proposed jury instructions on new purported objective considerations of non-obviousness that were
never disclosed during discovery. Specifically, Janssen did not assert any secondary considerations of non-
obviousness of the asserted claims other than an alleged long-felt need at any time during discovery, including in its
response to Defendants’ interrogatory seeking “identification of all secondary considerations” and its expert reports.
Defendants dispute that these theories are properly issues in this case. To the extent that these issues are presented at
trial, Defendants reserve their rights to propose a jury instruction.

98
  Therasense, Inc. v. Becton, Dickinson & Co., 593 F.3d 1325, 1336 (Fed. Cir. 2010) (“Abbott’s objective evidence
of non-obviousness fails because it is not ‘commensurate in scope with the claims which the evidence is offered to
support.’”); In re GPAC Inc., 57 F.3d 1573, 1580 (Fed. Cir. 1995) (“For objective evidence to be accorded substantial
weight, its proponent must establish a nexus between the evidence and the merits of the claimed invention.”); In re
Grasselli, 713 F.2d 731, 743 (Fed. Cir. 1983) (“It is well settled ‘that objective evidence [of] non-obviousness must
be commensurate in scope with the claims which the evidence is offered to support.’”).

99
   Ethicon Endo-Surgery, Inc. v. Covidien LP, 812 F.3d 1023, 1035 (Fed. Cir. 2016), cert. denied, (U.S. Jan. 9, 2017)
(“Here, Ethicon only pointed to a single passage in a marketing brochure (and expert testimony based on that
marketing brochure) touting the advantages of the Covidien products to demonstrate long-felt need. But at most, these
demonstrate a long-felt need for staples of different heights (a feature in the prior art), not the combination of features
that is the invention here. As the Board found, this single brochure “does not support the assertion that there was a
long-felt but unresolved need in the industry” for the claimed invention.”); ABT Sys., LLC v. Emerson Elec. Co., 797
F.3d 1350, 1362 (Fed. Cir. 2015) (“The disclosures of the prior art references—and especially Vogelzang’s “cycle
position” option for running a system fan “during periods when there is no operation of the heating apparatus or
cooling apparatus” to help mix air—eliminate any serious contention that there was a long-felt need for the invention
claimed in the ′017 patent. See Ormco Corp. v. Align Tech., Inc., 463 F.3d 1299, 1311–12 (Fed.Cir.2006) (“[I]f the
feature that creates the commercial success was known in the prior art, the success is not pertinent.”). ABT’s argument
of a long-felt need ignores the scope of claim 1, which does not set forth limits on how long or how often periodic fan
operation is to be performed. In addition, claim 1 does not limit in any way the control logic for implementing such
periodic operation.”).



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and solving the alleged long-felt need.100 If you find that the claims are broad enough to cover

products that both do and do not solve the identified problem, Janssen cannot show a nexus

between the claimed invention and any alleged long-felt need.101 Further, if you find that the

differences between the prior art and the claimed invention are minimal, Janssen cannot show that

any long-felt need existed.102




100
   WMS Gaming, Inc. v. International Game Technology, 184 F.3d 1339, 1359 (Fed. Cir. 1999) (“The patentee bears
the burden of showing that a nexus exists between the claimed features of the invention and the objective evidence
offered to show non-obviousness.”).
101
   Therasense, 593 F.3d at 1336 (“Abbott’s final argument against a verdict of obviousness is that the claimed
invention solved the so-called ‘short fill’ problem, a problem for which Abbott submits there was a long-felt but
unsolved need, but one which Nankai does not solve.... Because the claims are broad enough to cover devices that
either do or do not solve the ‘short fill’ problem, Abbot’s objective evidence of non-obviousness fails because it is
not ‘commensurate in scope with the claims which the evidence is offered to support.’”); Regent Lighting Corp. v.
FL Industries, Inc., 60 F.3d 840, 1995 WL 331122, at *5 (“[A] nexus was not established because the claims,
properly construed, are not commensurate in scope with the offered evidence. Rather, the evidence [of secondary
considerations] embraces only outdoor quartz halogen fixtures with glass lenses, yet the claimed subject matter as a
whole is broader, as discussed above.”).

102
   Geo. M. Martin Co. v. All. Mach. Sys. Int’l LLC, 618 F.3d 1294, 1304 (Fed. Cir. 2010) (“Where the differences
between the prior art and the claimed invention are as minimal as they are here, however, it cannot be said that any
long-felt need was unsolved.”).



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                                   PRIOR ART—ADDITIONAL ELEMENTS

          As I previously explained, I have construed “cell culture media” in the beginning of claim

1 as meaning “nutritive media for culturing cells.”103 Based on my construction, it is not necessary

for the prior art to describe a serum-free, or chemically defined, or protein-free cell culture media

in order to render the asserted claims anticipated or obvious.

          Based on my construction, prior art can render the ’083 patent claims invalid even if the

prior art discloses ingredients that are not recited in an asserted claim of the ’083 patent, as long

as you find that each limitation of the asserted claim is disclosed in the prior art or, if one or more

limitations are not disclosed in the prior art, the missing limitations are obvious. In other words,

the fact that a prior art reference contains additional ingredients beyond the 52 non-optional

ingredients would not be relevant to the obviousness determination. The only question is whether

the invention set forth in the asserted claims is obvious.

          In addition, the ’083 patent claims certain ingredients with concentration ranges down to

zero (i.e., “optional” ingredients). Prior art can render the ’083 patent claims invalid even if the

prior art fails to disclose the “optional” ingredient. In other words, the fact that a prior art reference

contains fewer than all of the “optional” ingredients would not be relevant to the obviousness

determination.




103
      Dkt. No. 226, 8/19/2016 Memorandum and Order at ¶ 4.



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                                      WRITTEN DESCRIPTION REQUIREMENT104

           The patent law contains certain requirements for the part of the patent called the

specification. In the patent application process, the applicant may keep the originally filed claims,

or change the claims between the time the patent application is first filed and the time a patent is

issued. An applicant may amend the claims or add new claims. These changes may narrow or

broaden the scope of the claims. The written description requirement ensures that the issued claims

correspond to the scope of the written description of the invention that the inventors provided in

the specification. The essence of the written description requirement is that a patent applicant, as

part of the bargain with the public, must describe the full scope of his or her invention so that the

public will know what it is and that he or she has truly possessed the full scope of the claimed

invention.105 Put another way, the purpose of the written description requirement is to ensure that

the scope of the right to exclude, as set forth in the claims, does not overreach the scope of the

inventor’s contribution to the field of art as described in the patent specification.106




104
      Based on Model Patent Jury Instructions, Fed. Circuit Bar Ass’n, Instr. B.4.2a (July 2016).
105
   AbbVie Deutschland GmbH & Co., KG v. Janssen Biotech, Inc., 759 F.3d 1285, 1298 (Fed. Cir. 2014) (“The
essence of the written description requirement is that a patent applicant, as part of the bargain with the public, must
describe his or her invention so that the public will know what it is and that he or she has truly made the claimed
invention.”); Ariad Pharm., Inc. v. Eli Lilly & Co., 598 F.3d 1336, 1351 (Fed. Cir. 2010) (“In other words, the test for
sufficiency is whether the disclosure of the application relied upon reasonably conveys to those skilled in the art that
the inventor had possession of the claimed subject matter as of the filing date.”); Wyeth v. Abbott Labs., No. CIV.A.
08-1021 JAP, 2012 WL 175023, at *7 (D.N.J. Jan. 19, 2012) (“no reasonable jury could conclude that the limited
disclosures provided regarding rectal and transdermal administration are sufficient to show that the inventors were in
possession of the full scope of the invention claimed”), aff’d sub nom. Wyeth & Cordis Corp. v. Abbott Labs., 720
F.3d 1380 (Fed. Cir. 2013); LizardTech, Inc. v. Earth Res. Mapping, Inc., 424 F.3d 1336, 1346 (Fed. Cir. 2005) (“[i]t
seems to us that nothing can be more just and fair, both to the patentee and the public, than that the former should
understand, and correctly describe, just what he has invented, and for what he claims a patent.”).
106
    Ariad Pharm., Inc. v. Eli Lilly & Co., 598 F.3d 1336, 1353–54 (Fed. Cir. 2010) (“As this court has repeatedly
stated, the purpose of the written description requirement is to ‘ensure that the scope of the right to exclude, as set
forth in the claims, does not overreach the scope of the inventor's contribution to the field of art as described in the
patent specification.’”).



                                                           65
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         Defendants contend that claims 1 and 2 of Janssen’s ’083 patent are invalid because the

specification of the ’083 patent does not contain an adequate written description of the invention.

To succeed, Defendants must show by clear and convincing evidence that the specification fails to

meet the law’s requirements for written description of the invention.

         In deciding whether the patent satisfies this written description requirement, you must

consider the description from the viewpoint of a person having ordinary skill in the field of

technology of the patent when the application was filed. The written description requirement is

not met simply because certain claim language appears verbatim in the specification.107 Rather,

the written description requirement is satisfied if a person having ordinary skill reading the original

patent application would have recognized that the patent’s specification describes the full scope of

the claimed invention as it is finally claimed in the issued patent and that the inventor actually

possessed that full scope by the filing date of the original application.

         The written description requirement may be satisfied by any combination of the words,

structures, figures, diagrams, formulas, etc., contained in the patent application. The full scope of

a claim or any particular requirement in a claim need not be expressly disclosed in the patent

specification if a person having ordinary skill in the field of technology of the patent at the time of

filing would have understood that the full scope or missing requirement is in the written description

in the specification.




107
    Enzo Biochem, Inc. v. Gen-Probe Inc., 323 F.3d 956, 968 (Fed. Cir. 2002) (“We next address Enzo’s additional
argument that the written description requirement for the generic claims is necessarily met as a matter of law because
the claim language appears in ipsis verbis in the specification. We do not agree. Even if a claim is supported by the
specification, the language of the specification, to the extent possible, must describe the claimed invention so that one
skilled in the art can recognize what is claimed. The appearance of mere indistinct words in a specification or a claim,
even an original claim, does not necessarily satisfy that requirement.”).



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                                     WRITTEN DESCRIPTION REQUIREMENT—GENUS
                   108
      CLAIMS

             In this case, the ’083 patent claims a general class of things which we refer to as a “genus.”

A sufficient written description of a “genus” requires more than a general description of the

boundaries of the invention.109 Instead, a sufficient written description requires the disclosure of

either (1), a representative number of specific examples — which we refer to as “species” —

falling within the scope of the genus, or, (2), structural features common to the members of the

genus.110 In either case, the disclosure must permit a person of ordinary skill in the art to “visualize

or recognize” the members of the genus.111 The written description must include a precise

definition such as by structure, formula, chemical name or physical properties or other properties




108
    Based on the jury charge from Abbott GMBH & Co., KG, et al. v. Centocor Ortho Biotech, Inc., et al., Civ. No.
09-11340, 2012 WL 11802669 at *8 (D. Mass Sept. 24, 2012) (J. Saylor); aff’d, AbbVie Deutschland GmbH & Co.,
KG v. Janssen Biotech, Inc., 759 F.3d 1285, 1299 (Fed. Cir. 2014) (“Whether the written description requirement for
a genus is met by a particular disclosure depends upon the facts. Ariad, 598 F.3d at 1351. This case presents such a
question. The jury found that the requirement was not met, and we agree.”); see also Abbott GMBH & Co., KG, et al.
v. Centocor Ortho Biotech, Inc., et al., Civ. No. 09-11340, Dkt. 484 at *4-5 (D. Mass Sept. 23, 2012) (Centocor’s
Brief); see also Abbott GMBH & Co., KG, et al. v. Centocor Ortho Biotech, Inc., et al., Civ. No. 09-11340, Dkt. 441
at *6-10 (D. Mass Aug. 29, 2012) (Centocor’s Trial Brief) .
109
   Ariad Pharm., Inc. v. Eli Lilly & Co., 598 F.3d 1336, 1349 (Fed. Cir. 2010) (en banc) (“Recognizing this, we held
in Eli Lilly that an adequate written description of a claimed genus requires more than a generic statement of an
invention’s boundaries.”).
110
    Ariad Pharm., Inc. v. Eli Lilly & Co., 598 F.3d 1336, 1350 (Fed. Cir. 2010) (en banc) (“We held that a sufficient
description of a genus instead requires the disclosure of either a representative number of species falling within the
scope of the genus or structural features common to the members of the genus so that one of skill in the art can
‘visualize or recognize’ the members of the genus. Id. at 1568–69. We explained that an adequate written description
requires a precise definition, such as by structure, formula, chemical name, physical properties, or other properties, of
species falling within the genus sufficient to distinguish the genus from other materials. Id. at 1568 (quoting Fiers v.
Revel, 984 F.2d 1164, 1171 (Fed.Cir.1993)). We have also held that functional claim language can meet the written
description requirement when the art has established a correlation between structure and function. See Enzo, 323 F.3d
at 964 (quoting 66 Fed.Reg. 1099 (Jan. 5, 2001)). But merely drawing a fence around the outer limits of a purported
genus is not an adequate substitute for describing a variety of materials constituting the genus and showing that one
has invented a genus and not just a species.”); see also Carnegie Mellon Univ. v. Hoffmann-La Roche Inc., 541 F.3d
1115, 1124 (Fed. Cir. 2008).
111
      Id.



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of the species falling within the genus sufficient to distinguish the genus from other materials.112

Again, the genus is defined by what is set forth in the claims.

             It is not necessary that each and every aspect of the claim be described, as long as a person

of ordinary skill in the art would understand that the missing aspect is necessarily implied in the

patent specification. The specification does not need to describe the infringing product, nor are

there any bright line rules governing the number of species that must be disclosed to describe a

genus claim, as this number necessarily changes with each invention and with progress in the field.

However, when there is a substantial variation within the claimed genus, the patent must describe

a sufficient variety of species to reflect the variation within the genus. Merely drawing a fence

around the outer limits of a purported range is not an adequate substitute for describing a variety

of materials constituting the range and showing that one has invented a range and not just an

example.113




112
      Id.
113
    Id.; see also AbbVie Deutschland GmbH & Co., KG v. Janssen Biotech, Inc., 759 F.3d 1285, 1300 (Fed. Cir. 2014)
(“With the written description of a genus, however, merely drawing a fence around a perceived genus is not a
description of the genus. One needs to show that one has truly invented the genus, i.e., that one has conceived and
described sufficient representative species encompassing the breadth of the genus. Otherwise, one has only a research
plan, leaving it to others to explore the unknown contours of the claimed genus.”).



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                                    DAMAGES—INTRODUCTION114

          If you find that Celltrion or Hospira infringed any valid claim of the ’083 patent, you must

then consider what amount of damages to award to Janssen. I will now instruct you about the

measure of damages. By instructing you on damages, I am not suggesting which party should win

this case, on any issue. If you find that Celltrion and Hospira have not infringed any valid claim

of the patent, then Janssen is not entitled to any damages.

          The damages you award must be adequate to compensate Janssen for the infringement.

They are not meant to punish an infringer. Your damages award, if you reach this issue, should

put Janssen in approximately the same financial position that it would have been in had the

infringement not occurred. This amount, however, is limited to damages attributable to the ’083

patent.

          Janssen has the burden to establish the amount of its damages by a preponderance of the

evidence. In other words, you should award only those damages that Janssen establishes that it

more likely than not suffered. While Janssen is not required to prove the amount of its damages

with mathematical precision, it must prove them with reasonable certainty. You may not award

damages that are speculative, damages that are only possible, or damages that are based on

guesswork.




114
    Based on Model Patent Jury Instructions, Fed. Circuit Bar Ass’n, Instr. B.6.1 (July 2016). Garretson v. Clark, 111
U.S. 120, 121 (1884) (“The patentee… must in every case give evidence tending to separate or apportion the
defendant's profits and the patentee's damages between the patented feature and the unpatented features.”); Seymour
v. McCormick, 57 U.S. 480, 489 (1853) (“[O]ne who invents some improvement in the machinery of a mill could not
claim that the profits of the whole mill should be the measure of damages for the use of his improvement.”); Philp v.
Nock, 84 U.S. 460, 462 (1873) (“Where the infringement is confined to a part of the thing sold, the recovery must be
limited accordingly. It cannot be as if the entire thing were covered by the patent.”); Sessions v. Romadka, 145 U.S.
29, 45 (1892) (“[P]rofits upon the entire article are only allowable where such article is wholly the invention of the
patentee, or where its entire value is properly and legally attributable to the patented feature.”); Mentor Graphics v.
EVE–USA, 870 F.3d 1298, 1299 (Fed. Cir. 2017) (order denying rehearing en banc) (“[W]here an infringing product
is a multi-component product with patented and unpatented components, apportionment is required.”).



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           There are different types of damages that Janssen may be entitled to recover. In this case,

Janssen seeks lost profits, price erosion, and a reasonable royalty. Lost profits consist of any actual

reduction in business profits Janssen suffered as a result of Celltrion’s or Hospira’s alleged

infringement. A reasonable royalty is defined as the money amount a willing licensor and willing

licensee would have agreed upon as a fee for use of the invention at the time prior to when

infringement began. But, regardless of the type of damages you may choose to award, you must

be careful to ensure that award is no more or no less than the value of the patented invention.

           I will give more detailed instructions regarding damages shortly. Note, however, that

Janssen is entitled to recover no less than a reasonable royalty for each infringing sale of cell

culture media. In no event, however, may Janssen seek damages from before May 31, 2011

because Janssen may not recover damages from more than six years prior to when it filed this

lawsuit.115




115
      35 U.S.C. § 286



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                                      DAMAGES—FOREIGN SALES116

           In determining the amount of damages, you may not consider Celltrion’s or Hospira’s sales

outside of the United States. United States patent law does not operate beyond the limits of the

United States.117 Janssen is not entitled to compensation for Celltrion’s or Hospira’s foreign

making, use, or sale of a patented invention, which is not infringement at all.118




116
   Based on Power Integrations, Inc. v. Fairchild Semiconductor Int’l, Inc., 711 F.3d 1348, 1371 (Fed. Cir. 2013);
Brown v. Duchesne, 60 U.S. (19 How.) 183, 195, 15 L.Ed. 595 (1856).

117
      Brown v. Duchesne, 60 U.S. (19 How.) 183, 195, 15 L.Ed. 595 (1856).
118
      Power Integrations, Inc. v. Fairchild Semiconductor Int’l, Inc., 711 F.3d 1348, 1371 (Fed. Cir. 2013).



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                                      DAMAGES—INTERVENING CAUSE

           Janssen is not entitled to damages for any alleged injury caused by activity that occurred

outside the territory of the United States.119 When determining whether Janssen has proven

damages or the amount of damages, you should not consider Celltrion’s or Hospira’s activities

outside the United States.120 For example, you should not take into account any alleged damages

which are the result of Celltrion or Hospira using the allegedly infringing cell culture media outside

of the United States.121




119
      Power Integrations, Inc. v. Fairchild Semiconductor Int’l, Inc., 711 F.3d 1348, 1371(Fed. Cir. 2013).
120
  Microsoft Corp. v. AT&T Corp., 550 U.S. 437, 454–55 (2007); Brown v. Duchesne, 60 U.S. 183, 195–96 (1856);
Power Integrations, Inc. v. Fairchild Semiconductor Int’l, Inc., 711 F.3d 1348, 1371–72 (Fed. Cir. 2013);
WesternGeco L.L.C. v. Ion Geophysical Corp., 791 F.3d 1340, 1349–50 (Fed. Cir. 2015).
121
      Power Integrations, Inc. v. Fairchild Semiconductor Int’l, Inc., 711 F.3d 1348, 1371–72 (Fed. Cir. 2013).



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                                  DAMAGES—PATENT HOLD-UP VALUE122

        In determining the amount of damages, you may only award damages that reflect the value

attributable to the infringing features of the product, and no more.123 You should not award Janssen

damages based on patent hold-up value. Patent hold-up exists when the holder of patent, such as

Janssen, demands excessive damages because a company is locked into using a particular product,

as opposed to any value attributable to the patent itself.124




122
   Based on Ericsson, Inc. v. D-Link Sys., Inc., 773 F.3d 1201, 1209 (Fed. Cir. 2014); TCL Comm’n Tech. Holdings,
Ltd. v. Telefonaktiebolaget LM Ericsson, Case No.. SACV 14–341 JVS(DFMx), 2017 WL 6611635, at*54 (C.D. Cal.
Dec. 21, 2017).

123
   Commonwealth Sci. and Indus. Research Org. v. Cisco Sys., Inc., 809 F.3d 1295, 1301 (Fed. Cir. 2015) (quoting
Ericsson, Inc. v. D-Link Sys., Inc., 773 F.3d 1201, 1209 (Fed. Cir. 2014)).
124
   Ericsson, Inc. v. D-Link Sys., Inc., 773 F.3d 1201, 1209 (Fed. Cir. 2014); see also TCL Comm’n Tech. Holdings,
Ltd. v. Telefonaktiebolaget LM Ericsson, Case No.. SACV 14–341 JVS(DFMx), 2017 WL 6611635, at*54 (C.D. Cal.
Dec. 21, 2017); Commonwealth Sci. & Indus. Research Organisation v. Cisco Sys., Inc., 809 F.3d 1295, 1305 (Fed.
Cir. 2015).



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                                     DAMAGES—FUTURE SALES125

           Janssen seeks to recover lost profits and/or reasonable royalties related to sales which it

projects will be made in the future. To recover damages related to projected future sales, Janssen’s

projections cannot be speculative.126 Janssen’s burden of proving damages in the future is

commensurately greater than for sales which have already occurred, because the future always

harbors unknowns.127 While estimates of future sales may necessarily contain some speculative

elements, Janssen must provide you with such facts and circumstances to enable you to make an

estimate of damage based upon judgment, not guesswork.128




125
      Based on Oiness v. Walgreen Co., 88 F.3d 1025, 1031 (Fed. Cir. 1996).
126
      Oiness v. Walgreen Co., 88 F.3d 1025, 1031 (Fed. Cir. 1996).
127
   Oiness v. Walgreen Co., 88 F.3d 1025, 1031 (Fed. Cir. 1996) (quoting Brooktree Corp. v. Advanced Micro Devices,
Inc., 977 F.2d 1555, 1581 (Fed Cir. 1992).
128
   Oiness v. Walgreen Co., 88 F.3d 1025, 1031 (Fed. Cir. 1996) (quoting Malloy v. Monohan, 73 F.3d 1012, 1016
(10th Cir. 1996)).



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                                    DAMAGES—APPORTIONMENT129

         To recover damages, Janssen must prove the portion of its alleged lost profits or reasonable

royalty that were due to the allegedly patented features of the accused products, as distinct from

profits due to unpatented features of the accused products, of Inflectra, or other factors such as

marketing or advertising, or Hospira’s size or market position.130 If you find that Janssen has

proved to a reasonable certainty that some portion of Janssen’s profits or a reasonable royalty were

due to the patented feature alone, Janssen is entitled to those lost profits or reasonable royalties,

but no more. In short, in every case, Janssen must separate or apportion its damages between the

patented feature and the unpatented features, and such evidence must be reliable and tangible, and

not conjectural or speculative.131




129
   Based on 2017 Model Patent Jury Instructions, American Intellectual Property Law Association, Instr. 11.2.5.4
(2017); Mentor Graphics Corp. v. EVE-USA, Inc., 851 F.3d 1275, 1287–88 (Fed. Cir. 2017).
130
   Ferguson Beauregard/Logic Controls, Div. of Dover Res., Inc. v. Mega systems, LLC, 350 F.3d 1327, 1346 (Fed.
Cir. 2003) (“The district court therefore failed to distinguish the allocation of profits that would have been made “but
for” the infringement of the ′376 patent with the profits that could fairly be allocated to customer demand related to
the features embodying the ′991 patent.”) (vacating lost-profits damages award for failure to apportion).

131
    Garretson v. Clark, 111 U.S. 120, 121 (1884) (“‘The patentee,’ he says, ‘must in every case give evidence tending
to separate or apportion the defendant's profits and the patentee's damages between the patented feature and the
unpatented features, and such evidence must be reliable and tangible, and not conjectural or speculative; or he must
show, by equally reliable and satisfactory evidence, that the profits and damages are to be calculated on the whole
machine, for the reason that the entire value of the whole machine, as a marketable article, is properly and legally
attributable to the patented feature.’”).



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                                  DAMAGES—ENTIRE MARKET VALUE RULE132

        There is one exception to the general rule that damages must be apportioned to reflect only

the value the invention contributes to the accused products. Only if you find by a preponderance

of the evidence that Janssen has proven that the patented aspect of the accused product alone

creates the basis for customers’ demand for an entire product and the unpatented and patented

components together are considered to be components of a single assembly or parts of a complete

machine or they together constituted a functional unit, may you calculate damages based on the

value of the entire product. However, merely showing that the patented aspect is viewed as

valuable, important, or even essential to the use of the product is not enough to show that the

patented aspect is the basis for customers’ demand for the entire product. Janssen does not contend

it can meet this exception to the rule of apportionment.




132
   Based on 2017 Model Patent Jury Instructions, American Intellectual Property Law Association, Instr. 11.2.5.10
(2017); Rite-Hite Corp. v. Kelley Co., Inc., 56 F.3d 1538, 1549–50 (Fed. Cir. 1995).


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                                    LOST PROFITS—IDENTITY OF THE RELEVANT
                  133
      MARKET

         My instructions regarding lost profits may use the phrase “relevant market.” The “relevant

market” is the market for the patented invention.134 In this case, the relevant market is cell culture

media. The relevant market also includes substitutes which are similar in physical and functional

characteristics to the patented invention; in other words, within the “relevant market,” consumer

demand is relatively interchangeable among the patented product and products that compete with

the patented product.135 The relevant market excludes, however, alternatives to the patented

product with disparately different prices or significantly different characteristics.136




133
   Based on Presidio Components, Inc. v. Am. Tech. Ceramics Corp., 875 F.3d 1369, 1380 (Fed. Cir. 2017); BIC
Leisure Prod., Inc. v. Windsurfing Int'l, Inc., 1 F.3d 1214, 1218 (Fed. Cir. 1993); Micro Chem., Inc. v. Lextron, Inc.,
318 F.3d 1119, 1124 (Fed. Cir. 2003); Grain Processing Corp. v. Am. Maize-Prod. Co., 185 F.3d 1341, 1355 (Fed.
Cir. 1999).
134
   Micro Chem., Inc. v. Lextron, Inc., 318 F.3d 1119, 1124 (Fed. Cir. 2003) (“The proper starting point to identify the
relevant market is the patented invention. The relevant market also includes other devices or substitutes similar in
physical and functional characteristics to the patented invention.”).
135
   Id.; Grain Processing Corp. v. Am. Maize-Prod. Co., 185 F.3d 1341, 1355 (Fed. Cir. 1999) (“Consumer demand
defines the relevant market and relative substitutability among products therein.”) (citing BIC, 1 F.3d at 1218).
136
  Grain Processing, 185 F.3d at 1350 (“The “but for” inquiry therefore requires a reconstruction of the market, as it
would have developed absent the infringing product, to determine what the patentee would ... have made.”).



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                                      LOST PROFITS—PARTICIPATION IN RELEVANT
                   137
      MARKET

         To recover lost profits, Janssen must prove that it sells a product that practices the claimed

invention of the ’083 patent, or, if it does not practice the claimed invention of the ’083 patent,

Janssen must prove that it directly competes against the allegedly-infringing cell culture media

products and had the capability to meet the demand for the accused cell culture media.138 If Janssen

does not compete directly against the allegedly-infringing product, it is not entitled to lost

profits.139




137
   Based on Rite–Hite Corp. v. Kelley Co., Inc., 56 F.3d 1538, 1548 (Fed. Cir. 1995); Water Techs., 850 F.2d at 673;
Poly-America, L.P. v. GSE Lining Tech., Inc., 383 F. 3d 1303, 1311 (Fed. Cir. 2004); Yarway Corp. v. Eur-Control
USA, Inc., 775 F.2d 268, 275-76 (Fed. Cir. 1985); Gyromat Corp. v. Champion Spark Plug Co., 735 F.2d 549, 552
(Fed. Cir. 1984); Stryker Corp. v. Intermedics Orthopedics, Inc., 891 F. Supp. 751, 825 (E.D.N.Y. 1995).
138
   Rite–Hite Corp. v. Kelley Co., Inc., 56 F.3d 1538, 1548 (Fed. Cir. 1995) (“Normally, if the patentee is not selling
a product, by definition there can be no lost profits.”); Water Techs., 850 F.2d at 673 (lost profits only appropriate for
period of time when plaintiff was competitor in marketplace); Poly-America, L.P. v. GSE Lining Tech., Inc., 383 F.
3d 1303, 1311 (Fed. Cir. 2004) (“It is true that the recovery of lost profits by a patentee is not limited to the situation
in which the patentee is selling the patented device. However, the patentee needs to have been selling some item, the
profits of which have been lost due to infringing sales, in order to claim damages consisting of lost profits.”); Yarway
Corp. v. Eur-Control USA, Inc., 775 F.2d 268, 275-76 (Fed. Cir. 1985) (defining the Panduit test as requiring “proof
of (1) demand for the patented product in the market, (2) the plaintiff’s ability to meet the market demand, . . .”);
Gyromat Corp. v. Champion Spark Plug Co., 735 F.2d 549, 552 (Fed. Cir. 1984) (defining the Panduit test as requiring
“demand for the product” and that plaintiff had the “capability to meet the demand for the product covered by the
patent”) (emphasis added); Stryker Corp. v. Intermedics Orthopedics, Inc., 891 F. Supp. 751, 825 (E.D.N.Y.
1995), aff’d, 96 F.3d 1409 (Fed. Cir. 1996) (“The third-Panduit factor concerns the manufacturing and marketing
capability of the patentee to meet the demand for the patented product.”) (emphasis added).
139
    Rite–Hite Corp. v. Kelley Co., Inc., 56 F.3d 1538, 1546 (Fed. Cir. 1995) (“If a particular injury was or should have
been reasonably foreseeable by an infringing competitor in the relevant market, broadly defined, that injury is
generally compensable absent a persuasive reason to the contrary.”); id. at 1548 (“Normally, if the patentee is not
selling a product, by definition there can be no lost profits.”); id. at 1551 (“It is a clear purpose of the patent law to
redress competitive damages resulting from infringement of the patent, but there is no basis for extending that recovery
to include damages for items that are neither competitive with nor function with the patented invention. Promotion of
the useful arts, see U.S. Const., art. I, § 8, cl. 8, requires one, but not the other.”); Water Techs., 850 F.2d at 673 (lost
profits only appropriate for period of time when plaintiff was competitor in marketplace); Poly-America, L.P. v. GSE
Lining Tech., Inc., 383 F. 3d 1303, 1311 (Fed. Cir. 2004) (“It is true that the recovery of lost profits by a patentee is
not limited to the situation in which the patentee is selling the patented device. However, the patentee needs to have
been selling some item, the profits of which have been lost due to infringing sales, in order to claim damages consisting
of lost profits.”).



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                                     LOST PROFITS—PANDUIT FACTORS140

           Janssen bears the burden of proving entitlement to lost profits.141 Any award, however,

should exclude damages based on infringing activity occurring between October 6, 2009, and May

31, 2011. Janssen is entitled to lost profits if it proves all of the following by the more likely than

not standard:

           1.       the demand for the accused cell culture media;

           2.       absence of acceptable non-infringing substitutes for the accused cell culture media;

           3.       that Janssen had the manufacturing and marketing ability to make all or a part of
                    the infringing sales of the allegedly infringing cell culture media; and

           4.       the amount of profit that Janssen would have made if it were not for Celltrion’s or
                    Hospira’s alleged infringement.

I will now explain each of these factors.




140
      Based on AIPLA Model Patent Jury Instruction 11.2.1.2; N.D. Cal. Model Patent Jury Instruction 5.3.
141
   Lucent Techs., Inc. v. Gateway, Inc., 580 F.3d 1301, 1324 (Fed. Cir. 2009) (“The burden of proving damages falls
on the patentee.”)



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                                  LOST PROFITS—DEMAND142

        The first factor asks whether there was demand for the patented product in the relevant

market, here, cell culture media. Demand for the patented product can be proven by significant

sales of a patent holder’s patented product or significant sales of an infringing product containing

the patented features. To use sales of an allegedly infringing product as proof of this demand,

however, Janssen’s product and the allegedly infringing product must be sufficiently similar to

compete against each other in the same market or market segment, here, cell culture media. You

also should not consider sales of products mainly due to advertising and marketing, and unpatented

features of the products as evidence of demand for the patented product.




142
   Based on AIPLA Model Patent Jury Instruction 11.2.1.3; Model Patent Jury Instructions, Fed. Circuit Bar Ass’n,
Instr. B.6.6.2 (July 2016).



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                                     LOST PROFITS—NON-INFRINGING SUBSTITUTES143

           The second factor asks whether there were non-infringing, acceptable substitutes for the

patented product in the marketplace and the impact of such substitute products on the marketplace

absent the sale of the allegedly infringing cell culture media products. Janssen must prove the

absence of any non-infringing, acceptable substitutes.

           To determine whether a non-infringing substitute is acceptable, it must be compared to

Janssen’s cell culture media product, not to the accused GE HyClone cell culture media product.144

Note that in this case, Janssen does not sell cell culture media.

           To be an acceptable substitute, a proposed substitute must have had one or more of the

advantages of the patented invention that were important to the actual buyers of the infringing

products, not the public in general. The substitute need not have had alleged advantages of the

patented invention which were not important to the actual buyers of the infringing products.145




143
  Based on AIPLA Model Patent Jury Instruction 11.2.1.4; ND Cal Model Pat. Instruction 5.3b; Grain Processing
Corp. v. Am. Maize Prods. Co., 185 F.3d 1341, 1349 (Fed. Cir. 1999); Presidio, 875 F.3d at 1381.
144
      Presidio, 875 F.3d at 1381.
145
    Slimfold Mfg. Co. v. Kinkead Indus., Inc., 932 F.2d 1453, 1458 (Fed. Cir. 1991) (“Slimfold contends that the old
hardware used by Kinkead and other companies cannot be acceptable non-infringing alternatives because they do not
have the advantages of the new hardware covered by the Ford patent. That proposition may be correct if it is shown
that consumers specifically want a device with those advantages. … However, not only has Slimfold failed to show
that buyers of bi-fold metal doors specifically want a door having the advantages of the Ford patent, but the fact (found
by the district court) that neither Slimfold's nor Kinkead's market share changed significantly after introduction of the
“new” doors is very probative of the contrary conclusion.”); SmithKline Diagnostics, Inc. v. Helena Labs. Corp., 926
F.2d 1161, 1166 (Fed. Cir. 1991) (“If purchasers are motivated to purchase because of particular features of a product
available only from the patent owner and infringers, products without such features would obviously not be acceptable
noninfringing substitutes. TWM Corp., 789 F.2d at 901–02, 229 USPQ at 529. On the other hand, if the realities of
the market are that others would likely have captured sales made by the infringer, despite a difference in the products,
it follows that the “but for” test is not met. ”).




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Whether an alternative is acceptable depends on whether the alternative would satisfy the

consumer’s—here Celltrion’s—intended use of that product.146

           The acceptable substitutes also must not infringe the patent because they were licensed

under the patent or they did not include all the features required by the patent. A non-infringing

substitute may be one that involves a modification to the infringing product to avoid infringement

or the removal of the patented feature from the product altogether.147

           An acceptable substitute must also have been available during the damages period. An

acceptable non-infringing substitute is available if it was on the market during the infringement

period.148 A substitute that is on the market need not have been widely advertised or sold in order

to be available.149 An acceptable non-infringing substitute also is available if, during the damages

period, a competitor, a vendor, Celltrion, or Hospira had all the necessary equipment, materials,

know-how, and experience to design and manufacture the acceptable non-infringing substitute.

The substitute need not have actually been sold at that time. This is the case because a proper

reconstruction of the market that would have existed absent infringement must consider actions

the infringer would have taken to avoid infringement—including designing around the patented

intellectual property—starting on the date of first infringement.150 In other words, a rational

would-be infringer is likely to offer an acceptable non-infringing alternative, if available, to




146
       Grain Processing Corp. v. Am. Maize Prods. Co., 185 F.3d 1341, 1355 (Fed. Cir. 1999).
147
      ND Cal Model Pat. Instruction 5.3b.
148
      Grain Processing Corp. v. Am. Maize Prods. Co., 185 F.3d 1341, 1349 (Fed. Cir. 1999).
149
      Presidio, 875 F.3d at 1381.
150
      No. 15-10698, Dkt. 518 (March 3, 2017).



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compete with the patent owner rather than leave the market altogether.151 In this case, the date of

first alleged infringement is October 6, 2009, the day the ‘083 patent issued.

           If you determine that Celltrion would just as likely have purchased a non-infringing

acceptable cell culture media for further development, then Janssen has not shown it lost those

sales. Even if you find that the allegedly infringing cell culture media were the only products with

the advantages of the patented invention, Janssen is nonetheless required to prove to you that it, in

fact, would have made the alleged infringer’s infringing sales of cell culture media.




151
      Grain Processing Corp. v. American Maize-Products, 185 F.3d 1341, 1350-51 (Fed. Cir. 1999).



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                                    LOST PROFITS—CAPACITY152

           The third factor asks whether Janssen had the manufacturing and marketing ability to

actually make the sales of the patented cell culture media it allegedly lost due to the Defendants’

infringement. Janssen must prove that it could have supplied the additional cell culture media

products (or products that directly compete with the cell culture media products). Janssen also

must prove that it more likely than not had the ability to market and sell these additional patented

products.




152
      Based on AIPLA Model Patent Jury Instruction 11.2.1.6



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                                  LOST PROFITS—AMOUNT OF PROFIT153

        A patent holder may calculate its lost profits on lost sales by computing the lost revenue

for sales of cell culture media it claims it would have made but for the infringement and subtracting

from that figure the amount of additional costs or expenses it would have incurred in making those

lost sales, such as cost of goods, sales costs, packaging costs, and shipping costs. Certain fixed

costs that do not vary with increases in production or scale, such as taxes, insurance, rent, and

administrative overhead, should not be subtracted from a patent holder’s lost revenue. The amount

of lost profits cannot be speculative, but it need not be proved with unerring certainty.




153
   Based on Model Patent Jury Instructions, Fed. Circuit Bar Ass’n, Instr. B.6.2 (July 2016); AIPLA Model Patent
Jury Instruction 11.2.1.7.



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                                    LOST PROFITS—PRICE EROSION154

         Janssen can recover additional damages if it can establish that it is more likely than not

that, if there had been no infringement, Janssen would have been able to charge higher prices for

cell culture media products. If this fact is established, you may award as additional damages the

difference between:

      (A) the amount of profits Janssen would have made by selling its product at the higher price,
      and (B) the amount of profits Janssen actually made by selling its product at the lower price
      Janssen actually charged for its product.

This type of damage is referred to as price-erosion damage.

         If you find that Janssen suffered price erosion, you may also use the higher price in

determining Janssen’s lost profits from sales that were lost because of the infringement. In

calculating Janssen’s total losses from price erosion, you must take into account any drop in sales

that would have resulted from charging a higher price.

         Janssen is only entitled to damages based on price erosion if it can determine the portion

of price erosion due to the patented feature of the accused product, as distinct from price erosion

due to other unpatented features of the accused product, or other factors such as marketing or

advertising or other competition or other market events, or Janssen’s size or market position. If

you find that Janssen has proved to a reasonable certainty that there was price erosion, and some



154
    Based on Model Patent Jury Instructions, Fed. Circuit Bar Ass’n, Instr. B.6.4 (July 2016); AIPLA Model Patent
Jury Instruction 11.2.2; Garretson v. Clark, 111 U.S. 120, 121 (1884) (“The patentee… must in every case give
evidence tending to separate or apportion the defendant's profits and the patentee's damages between the patented
feature and the unpatented features.”); Seymour v. McCormick, 57 U.S. 480, 489 (1853) (“[O]ne who invents some
improvement in the machinery of a mill could not claim that the profits of the whole mill should be the measure of
damages for the use of his improvement.”); Philp v. Nock, 84 U.S. 460, 462 (1873) (“Where the infringement is
confined to a part of the thing sold, the recovery must be limited accordingly. It cannot be as if the entire thing were
covered by the patent.”); Sessions v. Romadka, 145 U.S. 29, 45 (1892) (“[P]rofits upon the entire article are only
allowable where such article is wholly the invention of the patentee, or where its entire value is properly and legally
attributable to the patented feature.”); Mentor Graphics v. EVE–USA, 870 F.3d 1298, 1299 (Fed. Cir. 2017) (order
denying rehearing en banc) (“[W]here an infringing product is a multi-component product with patented and
unpatented components, apportionment is required.”).



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portion of that price erosion was due to the patented feature alone, Janssen may seek price-erosion

damages. If Janssen fails to make such a showing, such as if lawful competition caused Janssen to

lower its prices, then Janssen is not entitled to price erosion damages.




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                                       REASONABLE ROYALTY—ENTITLEMENT155

           If you find that Janssen has established infringement, Janssen is entitled to at least a

reasonable royalty to compensate it for that infringement. If you find that Janssen has not proved

its claim for lost profits, or has proved its claim for lost profits for only for a portion of the

infringing sales of cell culture media, then you must award Janssen a reasonable royalty for all

infringing sales of cell culture media for which it has not been awarded lost profits damages.




155
      Model Patent Jury Instructions, Fed. Circuit Bar Ass’n, Instr. B.6.5 (July 2016).


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                                       REASONABLE ROYALTY—DEFINITION 156

           A royalty is a payment made to a patent holder in exchange for the right to make, use, or

sell the claimed invention. A reasonable royalty is the amount of royalty payment that a patent

holder and the alleged infringer would have agreed to in a hypothetical negotiation taking place at

a time prior to when the infringement first began. In this case, the hypothetical negotiation would

have taken place in September 2009, just before the ‘083 patent issued. In considering this

hypothetical negotiation, you should focus on what the expectations of the patent holder and the

alleged infringer would have been had they entered into an agreement at that time, and had they

acted reasonably in their negotiations. In determining this, you must assume that both parties

believed the patent was valid and infringed and that both parties were willing to enter into an

agreement. The reasonable royalty you determine must be a royalty that would have resulted from

the hypothetical negotiation, and not simply a royalty either party would have preferred. Evidence

of things that happened after the infringement first began can be considered in evaluating the

reasonable royalty only to the extent that the evidence aids in assessing what royalty would have

resulted from a hypothetical negotiation. Should infringement be found, any reasonable royalty

should exclude damages based on infringing activity occurring between the date of the

hypothetical negotiation and May 31, 2011.




156
      Model Patent Jury Instructions, Fed. Circuit Bar Ass’n, Instr. B.6.6 (July 2016).


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                                  REASONABLE ROYALTY—RELEVANT FACTORS157

            In determining the reasonable royalty, you should consider all the facts known and

available to the parties at the time the infringement began. Some of the kinds of factors that you

may consider in making your determination are:

      (1)      Any royalties received by the licensor for the licensing of the patent-in-suit, proving
               or tending to prove an established royalty.

      (2)      The rates paid by Celltrion or Hospira to license other patents comparable to the ’083
               patent.

      (3)      The nature and scope of the license, as exclusive or non-exclusive, or as restricted or
               non-restricted in terms of its territory or with respect to whom the manufactured
               product may be sold.

      (4)      Janssen’s established policy and marketing program to maintain its right to exclude
               others from using the patented invention by not licensing others to use the invention,
               or by granting licenses under special conditions designed to preserve that exclusivity.

      (5)      The commercial relationship between Janssen and Celltrion and Hospira, such as
               whether or not they are competitors in the same territory in the same line of business.

      (6)      The effect of selling the patented product in promoting sales of other products of the
               licensee; the existing value of the invention to the licensor as a generator of sales of
               its non-patented items; and the extent of such collateral sales.

      (7)      The duration of the ’083 patent and the term of the license.

      (8)      The established profitability of the product made under the ’083 patent; its
               commercial success; and its current popularity.

      (9)      The utility and advantages of the patented invention over the old modes or devices, if
               any, that had been used for achieving similar results.

      (10)     The nature of the patented invention; the character of the commercial embodiment of
               it as owned and produced by the licensor; and the benefits to those who have used the
               invention.

      (11)     The extent to which Celltrion and Hospira have made use of the invention; and any
               evidence that shows the value of that use.

      (12)     The portion of the profit or of the selling price that may be customary in the
               particular business or in comparable businesses to allow for the use of the invention
               or analogous inventions.


157
   Based on Model Patent Jury Instructions, Fed. Circuit Bar Ass’n, Instr. B.6.7 (July 2016); NDCAL Model Patent
Jury Instruction B.5.7.



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    (13)   The portion of the profit that arises from the patented invention itself as opposed to
           profit arising from unpatented features, such as the manufacturing process, business
           risks, or significant features or improvements added by the accused infringer.

    (14)   The opinion testimony of qualified experts.

    (15)   The amount that a licensor and a licensee (such as Celltrion or Hospira) would have
           agreed upon (at the time the infringement began) if both sides had been reasonably
           and voluntarily trying to reach an agreement; that is, the amount which a prudent
           licensee—who desired, as a business proposition, to obtain a license to manufacture
           and sell a particular article embodying the patented invention—would have been
           willing to pay as a royalty and yet be able to make a reasonable profit and which
           amount would have been acceptable by a patentee who was willing to grant a license.

    (16)   Any other economic factor that a normally prudent business person would, under
           similar circumstances, take into consideration in negotiating the hypothetical license.

       No one factor is dispositive and you can and should consider the evidence that has been

presented to you in this case on each of these factors. You may also consider any other factors

which in your mind would have increased or decreased the royalty the alleged infringer would

have been willing to pay and the patent holder would have been willing to accept, acting as

normally prudent business people.




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                         REASONABLE ROYALTY—AVAILABILITY OF NON-
       INFRINGING SUBSTITUTES158

           In determining a reasonable royalty, you may also consider evidence concerning the

availability and cost of non-infringing alternatives to the patented invention. A non-infringing

alternative must be an acceptable product that is licensed under the patent or that does not infringe

the patent. The existence of a non-infringing alternative and its relationship to the patented

invention is a consideration in the hypothetical negotiation and may limit the royalty Janssen could

reasonably obtain.159




158
   Based on 2017 Model Patent Jury Instructions, American Intellectual Property Law Association, Instr. 11.2.5.10
(2017); Riles v. Shell Exploration and Prod. Co., 298 F.3d 1302, 1312 (Fed. Cir. 2002).
159
      Riles v. Shell Exploration and Prod. Co., 298 F.3d 1302, 1312 (Fed. Cir. 2002).



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                                      WILLFUL INFRINGEMENT160

           In this case, Janssen argues both that Celltrion and Hospira infringed and, further, that

Celltrion and Hospira infringed willfully. If you have decided that Celltrion or Hospira have

infringed, you must go on and address the additional issue of whether or not the infringement was

willful. In order to prove willfulness, Janssen must prove that Celltrion or Hospira knew of the

’083 patent.161 You may not, however, determine that the infringement was willful just because

the infringer knew of the ’083 patent and infringed it. Instead, willful infringement is reserved for

only the most egregious behavior, such as where the infringement is malicious, deliberate,

consciously wrongful, or done in bad faith.

           To determine whether the infringer acted willfully, consider all facts. These may include,

but are not limited, to:

(1)       Whether or not Celltrion and Hospira acted consistently with the standards of behavior for
          its industry;

(2)       Whether or not Celltrion intentionally copied a product of Janssen that is covered by the
          ’083 patent;162

(3)       Whether or not Celltrion and Hospira reasonably believed they did not infringe or that the
          patent was invalid;

(4)       Whether or not Celltrion and Hospira made a good-faith effort to avoid infringing the ’083
          patent, for example, whether the infringer attempted to design around the ’083 patent; and

(5)       Whether or not Celltrion and Hospira tried to cover up its infringement.




160
      Based on Model Patent Jury Instructions, Fed. Circuit Bar Ass’n, Instr. B.3.10 (July 2016).
161
   WBIP, LLC v. Kohler Co., 829 F.3d 1317, 1341 (Fed. Cir. 2016) (“Knowledge of the patent alleged to be willfully
infringed continues to be a prerequisite to enhanced damages.”).
162
   Defendants have moved in limine to exclude Janssen’s argument that Defendants copied the ’083 patent.
Defendants, however, offer this instruction in the event the Court allows Janssen to make such an argument.



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                                   SPECIAL VERDICT FORM163

        Now I am going to have the court security officer give you the verdict form. We do not

have time to read the entire form right now, but I know it is going to be tempting. You can flip

through it, and then I am going to ask you to give me your undivided attention.

        I am going to go over all these questions. You may not have to answer all of those

questions. The answers to each question will dictate how many more parts, if any, you have to

answer. You should decide each question individually. Depending on your view of the evidence,

you might find all of the claims proven, some of the claims proven or none of the claims proven.

Similarly, when a question is asked about more than one defendant, depending on your view of

the evidence, you might find one defendant liable, more than one defendant liable or none of the

defendants liable.

                               [EXPLAIN SPECIAL VERDICT FORM]




163
   Based on the Jury Charge from Alves v. Daly, et al., Civ. No. 12-cv-10935, Jury Trial Day 14 at 96-138, 145-146
(D. Mass. May 26, 2015) (J. Wolf).



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                                   DELIBERATIONS164

        The third part of my instructions, about your deliberations, will be much shorter. In just a

little while you are going to go back to the jury room and begin your deliberations. The first thing

you should do is select a jury foreperson, somebody to moderate your discussions and to

communicate with me on your behalf. Then you should discuss the case.

        Your verdict needs to be unanimous on each question. You cannot fill in a blank until all

of you agree. Your deliberation should be rational discussions aimed at getting a unanimous

verdict. Each juror should decide for himself or herself after considering all the evidence and the

views of your fellow jurors. You should reconsider your initial views if you are persuaded by

rational discussion that they are wrong, but you should not abandon your views just to reach a

unanimous verdict.

        If and when you need to communicate with me, it has to be in writing. The foreperson

should write a note, for example, if you have a question about any of my instructions, or if you

want to go home, you write a note. The foreperson should sign the note and hand it to the court

security officer who will be outside the door. In your communications with the Court, you should

not indicate how you are split on any question. We are not entitled to know until you have reached

a unanimous verdict on the question. If you do have any questions, once you write them out, they

will be given to me. I will discuss them with the lawyers. I will bring you back into the courtroom,

and I will respond to your questions.

        When you have reached unanimous decisions on answers to all the questions you have to

answer, depending on your earlier answers, the foreperson should sign the verdict form, date it,



164
   Based on the Jury Charge from Alves v. Daly, et al., Civ. No. 12-cv-10935, Jury Trial Day 14 at 96-138, 145-146
(D. Mass. May 26, 2015) (J. Wolf).



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tell the court security officer that you have finished your deliberations, that you have a unanimous

verdict on all issues, and then I will have you back in the courtroom.

       You have been extraordinarily persevering and patient, and it is important that you continue

to demonstrate that quality. This is not the time to rush. This is the most important time in the

case, so take whatever time you think is necessary to answer whatever questions are necessary.




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